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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION


   CONSUMER FINANCIAL PROTECTION                      )
   BUREAU,                                            )
                                                      )
                                Plaintiff,            )
                                                      )       1:14-cv-00292-SEB-TAB
                        vs.                           )
                                                      )
   ITT EDUCATIONAL SERVICES, INC.,                    )
                                                      )
                                Defendant.            )

                     ORDER ON DEFENDANT’S MOTION TO DISMISS

        This cause is before the Court on Defendant ITT Educational Services, Inc.’s Motion to

 Dismiss [Docket No. 15], filed on April 28, 2014 pursuant to Federal Rules of Civil Procedure

 12(b)(1), 12(b)(6), and 12(b)(7). For the reasons set forth below, the Motion is DENIED in part

 and GRANTED in part.

                              Factual and Procedural Background

        Plaintiff Consumer Financial Protection Bureau (“the Bureau”), a United States federal

 agency, has brought this suit against Defendant, alleging violations of provisions of the

 Consumer Financial Protection Act (“CFPA”), 12 U.S.C. §§ 5531(a), 5536(a), 5564(a), & 5565,

 the Truth in Lending Act (“TILA”), 15 U.S.C. §§ 1601 et seq., and regulations thereunder.

 Because this cause is before us on a motion to dismiss, we consider the facts as presented by the

 Bureau’s Complaint.

        Defendant ITT Educational Services, Inc. (“ITT”) is a publicly-traded, for-profit

 company offering post-secondary courses and degrees to students at more than 100 locations




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 nationwide.1 ¶ 2.2 Many of ITT’s students and prospective students have limited financial

 means3, and ITT therefore derives much of its revenue from federal aid, including loans, secured

 by the students. ¶¶ 4–5. Some 80% of ITT’s revenue, in fact, comes from aid granted under Title

 IV of the Higher Education Act of 1965, 20 U.S.C. §§ 1070 et seq. (“Title IV Aid”). However, a

 large number of students are still unable to afford full tuition to enroll at ITT even with federal

 assistance. To enable students to close this “tuition gap,” ITT extended to many of them short-

 term, no-interest loans called “Temporary Credit.” The Temporary Credit packages were offered

 to students at the beginning of an academic year, and payment was due nine months later, at the

 close of the school year. ¶ 6.

 ITT’s aggressive tactics

          The Bureau alleges that ITT employed the Temporary Credit loans as an “entry point” for

 “pushing” students into taking out private loans when the Temporary Credit came due and

 students were again unable fully to afford tuition for coming school terms. ¶ 7. According to the

 Bureau, ITT misled students about the balance of costs and benefits associated with ITT

 enrollment—thus guiding them into an unmanageable financial predicament—in a number of

 ways.

          In the first place, ITT represented to students through oral representations and

 advertisements that its programs greatly advanced an enrollee’s career prospects and job

 placement rates; the Bureau alleges that these representations were exaggerated and were based

 on incomplete information. ¶¶ 29–33. The Bureau utilized “mystery shoppers”—young men or



 1
   ITT is incorporated in Delaware, and maintains its headquarters in Carmel, Indiana, within the Southern District of
 Indiana. ¶ 16.
 2
   Within this narrative of the facts, citations containing only paragraph numbers refer to the Complaint, found at
 Docket No. 1.
 3
   The Bureau quotes ITT’s chief financial officer as stating that the “average ITT student is earning around $18,000
 per year and has a credit score under 600 at the time he or she enrolls.” Compl. ¶ 24.

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 women presenting themselves as prospective students—who reported that ITT staff made

 exaggerated claims about student success, such as that graduates with associates’ degrees

 “usually make six figures.” ¶ 41. In contrast to these claims, ITT’s annual disclosures in 2012

 indicated that “reported annualized salaries initially following graduation averaged

 approximately $32,061 for the Employable Graduates in 2011.” ¶ 46.4

         The Bureau alleges that ITT also misleadingly represented to prospective students that its

 “national accreditation” placed it on par with other major educational institutions. ¶ 54. In fact,

 while a “national” accreditation sounds authoritative, most non-profit colleges and universities

 are “regionally” accredited; such institutions accept transfer credits from for-profit schools like

 ITT only on a case-by-case basis. ¶¶ 50–53. According to the Bureau, ITT not only created an

 inaccurate overall impression in this respect, but also misled some prospective students in a more

 specific way: one recruiter claimed that ITT had the same accreditation as “all other schools”;

 another falsely claimed that “ITT Tech is accredited by the Department of Defense.” ¶ 54.

         Having given prospective students an inflated notion of the standing of the school and the

 career benefits derived from the degrees it bestowed, the Bureau alleges that ITT’s recruiting

 staff engaged in heavy-handed methods to convince students to enroll. These methods included

 frequent phone calls and in-person multimedia presentations that mystery shoppers described as

 overwhelming in nature. ¶¶ 56, 58–60, 62. Prospective students were encouraged to take an

 admission test that, in fact, was “virtually impossible to fail,” but was used to give them the

 impression that the school had rigorous admissions standards and that their passing the test

 augured well for their prospects. ¶ 61. Despite the volubility of the overall sales pitch, the Bureau

 maintains that ITT recruiters were instructed to be vague and evasive on the question of costs;


 4
  The Bureau asserts that even these numbers are exaggerated because “annualizing” graduates’ salaries hides the
 effect of part-time jobs. Compl. ¶ 47.

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 they responded to applicants’ questions by stating, “I cannot tell you what your exact cost will

 be,” or by asking, “Do you want a discount education, or a valuable one that will give you a

 return in the future?” ¶ 57.

        Once students agreed to enroll, the Bureau alleges that ITT then switched gears, hurrying

 them through the enrollment and financial aid processes—so quickly that “many consumers did

 not know or did not understand what they signed up for.” ¶ 64. Specifically, ITT required

 enrollees to sign an Enrollment Agreement before they could receive any information about their

 financial aid options or meet with financial aid staff. ¶ 66. Mystery shoppers reported being

 rushed through e-signatures of documents, including authorizations to request transcripts and

 credit check approvals without understanding the nature of the forms they were signing. ¶ 67.

 One mystery shopper recounted that an ITT representative forged her signature on a number of

 e-documents, explaining that she was “trying to help and it was the only way she could give me

 the test to help push me through.” ¶ 72. The Bureau asserts that financial aid officers then “took

 control” of the process, rushing enrollees through form signatures and providing them with little

 detailed information; in the words of a mystery shopper, the process was “a bit overwhelming

 with how quickly we went through everything, and I wasn’t exactly clear on everything the [staff

 member] was having me sign up for.” ¶ 83.

        Once students had completed an academic term at ITT, the time came for them to

 “repackage” their financial aid and loans for the next year. The Bureau alleges that ITT’s

 financial aid staff employed aggressive tactics in seeking to repackage students, including

 tracking them down on campus, barring or pulling them from class, and enlisting the aid of other

 ITT staff such as professors. An ITT executive conceded that the school also used the threat of

 withholding course materials and transcripts as “leverage” to ensure that students would



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 repackage. ¶¶ 85–87. At both the initial and repackaging stages, ITT staff encouraged students to

 rely on school representatives in seeing them through the process, including the use of forms that

 automatically populated and required only the students’ signatures at the conclusion of the

 process. An executive stated that ITT was “essentially holding [the students’] hands”; one

 mystery shopper stated that a financial aid coordinator told him that he would “get more free

 money that I don’t have to pay back if I let them take care of my paperwork.” 5 ¶¶ 90–92.

 The “private loans”
         The Bureau’s claims against ITT focus on its assertion that, having knowingly cajoled

 and guided students into a financial predicament in which they were already heavily invested in

 an ITT degree yet lacked the financial resources to complete it—with the Temporary Credit

 expiring and financial aid insufficient to fully cover the “tuition gap”—ITT then persuaded

 continuing students to take out financially irresponsible “private loans” from third-party lenders.

 In the Bureau’s words:

         ITT Financial Aid staff coerced students into taking out loans that they did not
         want, did not understand, or did not even realize they were getting. . . . ITT sought
         to have its students pay for the tuition gap with ostensible third-party loans
         because outside sources of payment could be booked as income to the company,
         improving its free cash flow and the appearance of its financial statements, and
         because outside sources of revenue helped ITT meet a requirement by the
         Department of Education that at least 10% of its revenue be derived from sources
         outside Title IV loans and grants.
 ¶¶ 97–98.
         One of the sources of the students’ predicament was ITT’s alleged failure to adequately

 disclose the nature of the nine-month Temporary Credit to new students. Students who received

 the Temporary Credit signed a “Cost Summary Payment Addendum” (CSPA), which stated that


 5
   As ITT has pointed out, the “mystery shoppers,” for obvious reasons, were utilized only in reporting on how ITT
 treated enrollees during the initial stage, rather than the repackaging stage for continuing students. Although the
 Bureau’s allegations regarding mystery shopper reports are placed in its Complaint adjacent to allegations regarding
 the repackaging stage, it is important to bear this distinction in mind.

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 the loan was to last for the length of an academic year and carry no interest. According to the

 Bureau, however, the CSPA’s references to “new temporary credit” and “renewal of

 carryforward temporary credit” could mislead students into believing that renewal of the no-

 interest loan for future academic years was available. Some students believed that the Temporary

 Credit would be available until they graduated, ¶ 105, and a mystery shopper reported that she

 had been led to believe that future years’ costs would be “covered under a new temporary credit

 and that I would owe no money out of pocket.” ¶ 107. One director of finance at an ITT location

 instructed staff to describe the Temporary Credit as “funding” rather than as a loan that would

 have to be repaid. ¶ 108. ITT was aware that many or most students lacked the ability to repay

 the Temporary Credit, and it characterized them as “doubtful accounts” on its balance sheets. ¶

 113.

            The Bureau alleges that, beginning in 2008, ITT constructed two “private loan” programs

 as a vehicle for students to discharge the Temporary Credit: continuing students would use the

 cash they received from the new loans to pay off their debt to ITT and thus remove the “doubtful

 accounts” from ITT’s balance sheets. Of these two programs, only one—the Student CU

 Connect (SCUC) program—operated during the July–December 2011 time period covered by

 the Complaint.6 The Complaint asserts that ITT was heavily involved in the creation of the

 SCUC program: developing its underwriting criteria, providing a credit facility, paying the credit

 union membership fees in the lead credit union on behalf of the students taking out the SCUC

 loans, and providing the SCUC loan originators with a stop-loss guarantee that it would make

 them whole for losses if defaults on the loans exceeded 35%. ¶ 121. ITT was the “sole

 intermediary” between SCUC and its students; funds were disbursed through ITT to the student,


 6
     The other, the PEAKS program, evidently ran out of funds and stopped operating earlier in 2011. ¶¶ 129–132.

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 and could be used only to pay ITT for tuition and not for any other purpose. Additionally,

 eligibility criteria for the loans were tailored such that, if students had received Temporary

 Credit, they were automatically eligible for an ITT private loan.7 ¶¶ 116, 122.

         The loans granted under the SCUC program carried a 10-year term. For students with

 credit scores below 600, the interest rate after April 2011 was 13% plus prime—or 16.25%—in

 addition to a 10% origination fee. Nearly half of the students taking SCUC loans fell into this

 low-credit-score cohort. ¶¶ 123–124. These rates are drastically higher than those available under

 federal Stafford loans, whose rates since 2009 have ranged from 3.4% for subsidized borrowers

 to 6.8% for unsubsidized borrowers. ¶ 125. Despite their exacting terms, some 79% of the SCUC

 loans issued went to continuing ITT students who had previously received Temporary Credit in

 their first year at ITT. ¶ 126. As of May 2011, ITT’s consultant for loan default analysis

 projected a gross default rate of 61.3% for the existing SCUC loans. ¶ 127.

         Crucially, the Bureau alleges that these “private” loans, though nominally originated by

 third-party lenders, were the brainchild of ITT and that ITT consciously steered economically

 distressed students, faced with indebtedness upon the expiration of the Temporary Credit, into

 the SCUC loans. ITT executives, in quarterly earnings calls with investors and analysts, stated

 that the ITT private loan program was a vehicle for taking the Temporary Credit off of ITT’s

 balance sheets. ¶ 134. In referring to the PEAKS program, which ran from 2009 to 2011 and

 operated similarly to the SCUC program, ITT’s CEO allegedly discussed the interrelatedness of

 the programs as follows:

         We still anticipate offering internal financing to first-year students . . . . Second
         year students then would be eligible for financing through the PEAKS program,

 7
  An exception to this eligibility was made for students who had declared bankruptcy within the previous 24 months.
 ¶ 116.

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        to have financing for their forward-looking studies, as well as refinancing any
        institutional funding provided to them during the first year . . . . But it works that
        way, second-year students are in the PEAKS program, and first year will continue
        to be on the balance sheet.
        ...
        Basically the way the program is set up, if you think about the balance sheet
        aspects of this, obviously positive cash flow elements there. And some of that will
        come from [accounts receivable] that is going to be converted into the PEAKS
        program, which was our plan all along.
 ¶¶ 135–136. In a later conference call in 2011, ITT’s CEO affirmed that the SCUC program was

 part of this same “plan,” noting that SCUC was “substantially similar for us relative to the

 PEAKS program so that it’s structurally similar and the economics are very, very similar.” ¶ 137.

 According to the Bureau, many students did not migrate from the Temporary Credit to the

 “private loans” with eyes fully open: some accepted the new loans in reliance upon ITT’s acting

 in their interests, while others did not realize they had incurred a new type of debt because of the

 “rushed and automated manner” in which ITT financial staff processed the students’ paperwork.

 ¶¶ 141–142.

        For those students who had Temporary Credit debt at the close of their first year at ITT

 but who did not take out “private loans,” ITT offered them an incentive to pay off the debt in a

 lump sum upon graduation—in the form of a 25% discount. ¶ 144. For those students who were

 unable to pay off the Temporary Credit debt in a lump sum, ITT offered a “temporary credit

 installment plan” involving monthly payments that ranged, depending on the total amount owed,

 from six months to more than six years. ¶ 146. According to the Bureau, the paperwork students

 were given upon enrolling in the installment plan did not disclose this forgone 25% discount as

 constituting a “finance charge.” ¶¶ 148–151.

                                           Legal Analysis



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                                         Standard of Review

 1. Standard under Rule 12(b)(1)

        The Federal Rules of Civil Procedure command that courts dismiss any suit over which

 they lack subject matter jurisdiction—whether acting on the motion of a party or sua sponte. See

 Fed. R. Civ. Pro. 12(b)(1). In ruling on a motion to dismiss under Rule 12(b)(1), we “must accept

 the complaint’s well-pleaded factual allegations as true and draw reasonable inferences from

 those allegations in the plaintiff’s favor.” Franzoni v. Hartmax Corp., 300 F.3d 767, 771 (7th

 Cir. 2002); Transit Express, Inc. v. Ettinger, 246 F.3d 1018, 1023 (7th Cir. 2001). We may,

 however, “properly look beyond the jurisdictional allegations of the complaint and view

 whatever evidence has been submitted on the issue to determine whether in fact subject matter

 jurisdiction exists.” See Capitol Leasing Co. v. F.D.I.C., 999 F.2d 188, 191 (7th Cir. 1993);

 Estate of Eiteljorg ex rel. Eiteljorg v. Eiteljorg, 813 F. Supp. 2d 1069, 1074 (S.D. Ind. 2011).


 2. Standard under Rule 12(b)(6)


        Federal Rule of Civil Procedure 12(b)(6) authorizes dismissal of claims for “failure to

 state a claim upon which relief may be granted.” Fed. R. Civ. P. 12(b)(6). In determining the

 sufficiency of a claim, the court considers all allegations in the complaint to be true and draws

 such reasonable inferences as required in the plaintiff's favor. Jacobs v. City of Chi., 215 F.3d

 758, 765 (7th Cir. 2000). Federal Rule of Civil Procedure 8(a) applies, with several enumerated

 exceptions, to all civil claims, and it establishes a liberal pleading regime in which a plaintiff

 must provide only a “short and plain statement of the claim showing that [he] is entitled to

 relief,” Fed. R. Civ. Pro. 8(a)(2); this reflects the modern policy judgment that claims should be

 “determined on their merits rather than through missteps in pleading.” E.E.O.C. v. Concentra


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  Health Servs., Inc., 496 F.3d 773, 779 (7th Cir. 2007) (citing 2 James W. Moore, et al., Moore’s

  Federal Practice § 8.04 (3d ed. 2006)). A pleading satisfies the core requirement of fairness to

  the defendant so long as it provides “enough detail to give the defendant fair notice of what the

  claim is and the grounds upon which it rests.” Tamayo v. Blagojevich, 526 F.3d 1074, 1083 (7th

  Cir. 2008).

          In its decisions in Bell Atlantic Corp. v. Twombly, 550 U.S. 544 (2007), and Ashcroft v.

  Iqbal, 556 U.S. 662 (2009), the United States Supreme Court introduced a more stringent

  formulation of the pleading requirements under Rule 8. In addition to providing fair notice to a

  defendant, the Court clarified that a complaint must “contain sufficient factual matter, accepted

  as true, to ‘state a claim to relief that is plausible on its face.’” Iqbal, 556 U.S. at 678 (quoting

  Twombly, 550 U.S. at 570). Plausibility requires more than labels and conclusions, and a

  “formulaic recitation of the elements of a cause of action will not do.” Killingsworth v. HSBC

  Bank Nevada, N.A., 507 F.3d 614, 618 (7th Cir. 2007) (quoting Twombly, 550 U.S. at

  555). Instead, the factual allegations in the complaint “must be enough to raise a right to relief

  above the speculative level.” Id. The plausibility of a complaint depends upon the context in

  which the allegations are situated, and turns on more than the pleadings’ level of factual

  specificity; the same factually sparse pleading could be fantastic and unrealistic in one setting

  and entirely plausible in another. See In re Pressure Sensitive Labelstock Antitrust Litig., 566 F.

  Supp. 2d 363, 370 (M.D. Pa. 2008).

          Although Twombly and Iqbal represent a new gloss on the standards governing the

  sufficiency of pleadings, they do not overturn the fundamental principle of liberality embodied in

  Rule 8. As this Court has noted, “notice pleading is still all that is required, and ‘a plaintiff still

  must provide only enough detail to give the defendant fair notice of what the claim is and the



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  grounds upon which it rests, and, through his allegations, show that it is plausible, rather than

  merely speculative, that he is entitled to relief.’” United States v. City of Evansville, 2011 WL

  52467, at *1 (S.D. Ind. Jan. 8, 2011) (quoting Tamayo, 526 F.3d at 1083). On a motion to

  dismiss, “the plaintiff receives the benefit of imagination, so long as the hypotheses are

  consistent with the complaint.” Sanjuan v. Am. Bd. of Psychiatry & Neurology, Inc., 40 F.3d

  247, 251 (7th Cir. 1994).

                                               Discussion

         This suit arises primarily under the Consumer Financial Protection Act (CFPA), the

  Bureau’s organic statute. Congress enacted the CFPA as Title X of the “Dodd-Frank Act” of

  2010, with the stated purpose of “ensuring that the federal consumer financial laws are enforced

  consistently so that consumers may access markets for financial products, and so that these

  markets are fair, transparent, and competitive.” 12 U.S.C. § 5511(a). Counts One through Three

  of the Complaint allege that ITT engaged in “unfair” and “abusive” acts or practices, in violation

  of the CFPA’s operative provisions, 12 U.S.C. §§ 5531(c)(1), 5531(d)(2)(B) & 5531(d)(2)(C).

  The Bureau further alleges in Count Four that ITT’s nondisclosure of a finance charge violated

  the Truth in Lending Act (TILA), 15 U.S.C. §§ 1601 et seq., and its implementing Regulation Z,

  12 C.F.R. § 1026.17.

         ITT seeks dismissal on three broad grounds. First, it contends that the Bureau lacks

  standing to bring this suit because it is an unconstitutional entity and the CFPA’s prohibitions

  violate the due process clause. Second, ITT urges that the complaint fails to state a claim because

  ITT is not a covered entity subject to its provisions. Lastly, ITT argues that all four counts fail on

  their merits. We address these bases of ITT’s motion in turn.



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  I.      Constitutionality of the CFPA

  A. Removal Power and the “Take Care” Clause

          ITT argues that the CFPA violates the constitutional separation of powers by unduly

  restricting the President’s authority to remove the Bureau’s Director if he “loses confidence in

  the intelligence, ability, judgment, or loyalty” of that officer. See Def.’s Br. 8 (citing Myers v.

  United States, 272 U.S. 52, 134 (1926)). Because the Bureau is an unconstitutional entity and

  thus lacks standing, ITT urges that the suit must be dismissed in its entirety for the absence of a

  judiciable case or controversy. Def.’s Reply 3 n.4; Susan B. Anthony List v. Driehaus, 134 S. Ct.

  2334, 2341 (2014). To explain ITT’s misreading of the constitutional protections afforded the

  President’s power to remove officials like the Director of the Bureau, it is necessary to review

  the evolution of the doctrine.

       1. Evolution of Removal Power Doctrine

          The President’s power to appoint and remove officers of the Executive Branch broadly

  derives from his Article II mandate to “take Care that the Laws be faithfully executed.” U.S.

  Const. Art. II, § 3. See also U.S. Const. Art. II, § 1, cl. 1 (the “Vesting Clause”) (“The executive

  Power shall be vested in a President of the United States of America.”). The Constitution also

  specifically delineates the scope of the President’s appointment power:

          He shall nominate, and by and with the Advice and Consent of the Senate, shall
          appoint Ambassadors, other public Ministers and Consuls, Judges of the supreme
          Court, and all other Officers of the United States, whose Appointments are not
          herein otherwise provided for, and which shall be established by Law: but the
          Congress may by law vest the Appointment of such inferior Officers, as they
          think proper, in the President alone, in the Courts of Law, or in the Heads of
          Departments.




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  U.S. Const. Art. II, § 2, cl. 2. As to the question of the President’s removal authority, however,

  the document is conspicuously silent.

           Despite the lack of a clear textual command, the Supreme Court has long recognized that

  some degree of discretion in removing executive officers is inherent in the President’s powers

  and must be protected from excessive legislative encroachment. The Court first addressed the

  issue in Chief Justice Taft’s voluminous opinion in United States v. Myers, 272 U.S. 52 (1926).

  After examining at length the course of debates in 1789’s First Congress, the Court found

  evidence of an early consensus that, though appointment of principal executive officers was

  conditioned upon the “advice and consent” of the Senate, the authority to remove lay with the

  President alone. 272 U.S. at 111–115. The Court found the assumptions of the early Congress to

  be sound, and explicitly ratified them. The Constitution vested the executive power in the

  President, the Court reasoned, and the removal power inherent in executive authority—based on

  traditions inherited from the prerogatives of the British Crown—remained vested in him unless

  the Constitution specified otherwise.8 Moreover, on more functional grounds, it would be

  difficult to imagine the President successfully fulfilling his mandate to “take care that the laws be

  faithfully executed” if he were unable to command the obedience of the subordinates through

  which he exercised his powers. Id. at 115–135. The Myers Court therefore held that Congress

  was prohibited from unduly limiting the President’s “power of removing those for whom he

  cannot continue to be responsible.” Id. at 117.

           But the Executive Branch is far larger, and its responsibilities far more diverse, now than

  in the time of the First Congress or even of William Howard Taft. The rise of the “administrative



  8
    See also United States v. Williams, 504 U.S. 36, 51 (1992) (discussing the interpretive value of British monarchical
  tradition).

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  state” during the New Deal and in ensuing decades has spawned a number of independent

  agencies—formally within the Executive Branch but deriving much of their perceived value

  from their insulation from party politics and the President’s personal fiat. In Humphrey’s

  Executor v. United States, 295 U.S. 602 (1935), the Court recognized that with respect to the

  officers of agencies like the Federal Trade Commission, which are “quasi-legislative and quasi-

  judicial” rather than “purely executive,” the President’s authority to remove need not be as

  absolute as Myers had proclaimed. 295 U.S. at 627–629. Because “one who holds his office only

  during the pleasure of another, cannot be depended upon to maintain an attitude of independence

  against the latter's will,” id. at 629, the Court upheld Congress’s statutory mandate that the FTC

  commissioners be removed only for cause—for “inefficiency, neglect of duty, or malfeasance in

  office.” Id. at 620 (quoting 15 U.S.C. § 41).

             In two more recent landmark cases, the Supreme Court has considered the application of

  its removal doctrine to “inferior” officers: those who report directly not to the President but to

  another appointed official within the Executive Branch. In Morrison v. Olson, 487 U.S. 654

  (1988), the Court determined that the statute9 authorizing “independent counsels” within the

  Department of Justice, whom the Attorney General appointed and could remove only for cause,

  did not unconstitutionally abridge the President’s powers. Though the independent counsel was

  surely an “executive” rather than “quasi-legislative” or “quasi-judicial” officer—his primary

  function, after all, was criminal investigation and prosecution—Congress’s protection of his

  independence was nonetheless appropriate. This was so in large part because the independent

  counsel’s duties were discrete in scope:




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      The Ethics in Government Act of 1978, 28 U.S.C. §§ 49, 591 et seq.

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         [T]he independent counsel is an inferior officer under the Appointments Clause,
         with limited jurisdiction and tenure and lacking policymaking or significant
         administrative authority. Although the counsel exercises no small amount of
         discretion and judgment in deciding how to carry out his or her duties under the
         Act, we simply do not see how the President’s need to control the exercise of that
         discretion is so central to the functioning of the Executive Branch as to require as
         a matter of constitutional law that the counsel be terminable at will by the
         President.
  Id. at 691–692. Moreover, the Court noted, the President did retain the ability to exercise some

  control over an independent counsel through his at-will appointee, the Attorney General. Id. at

  692.


         In its 2010 decision in Free Enterprise Fund v. Public Company Accounting Oversight

  Board, 561 U.S. 477 (2010), however, the Court drew a bright line limiting the leeway afforded

  to Congress by the progeny of Humphrey’s Executor and Morrison: Congress could not insulate

  an inferior officer from presidential oversight with two layers of for-cause protection. There, the

  Court held that the for-cause removal of the commissioners of the Public Company Accounting

  Oversight Board, an entity created by the Sarbanes-Oxley Act under the aegis of the SEC—

  whose commissioners themselves may be removed by the President only in limited

  circumstances—violated the spirit of the “take care” clause. It reasoned as follows:


         A second level of tenure protection changes the nature of the President's review.
         Now the Commission cannot remove a Board member at will. The President
         therefore cannot hold the Commission fully accountable for the Board's conduct,
         to the same extent that he may hold the Commission accountable for everything
         else that it does. The Commissioners are not responsible for the Board's actions.
         They are only responsible for their own determination of whether the Act's
         rigorous good-cause standard is met. And even if the President disagrees with
         their determination, he is powerless to intervene—unless that determination is so
         unreasonable as to constitute “inefficiency, neglect of duty, or malfeasance in
         office.” Humphrey’s Executor, [295 U.S. at 620]. . . . This novel structure does
         not merely add to the Board's independence, but transforms it.

  561 U.S. at 496.
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     2. ITT’s Principal Argument


         Thus, in the nearly 90 years since Myers, the Supreme Court has qualified the doctrine of

  the President’s removal authority it espoused in that decision in at least three respects. Congress

  may place restrictions on the removal of the officers of “quasi-legislative” or “quasi-judicial”

  independent regulatory agencies (Humphrey’s Executor); it may likewise enact tenure

  protections for an executive inferior officer, if his or her duties are well-defined and discrete in

  scope (Morrison). It may not, however, shield an inferior officer behind two layers of tenure

  protection (Free Enterprise Fund). ITT’s contentions notwithstanding, we conclude that the

  structure of the CFPA is permissible when viewed through this doctrinal prism.


         ITT first argues that, because “the limitations on removal here are far more restrictive

  than a ‘good cause’ provision,” the CFPA runs afoul of Free Enterprise Fund’s dictum that “the

  President cannot ‘take care that the Laws be faithfully executed’ if he cannot oversee the

  faithfulness of the officers who execute them.” Def.’s Br. 8 (quoting Free Enter. Fund, 561 U.S.

  at 484). In fact, however, the CFPA specifies precisely the same grounds for removal as the

  archetypal “for cause” provision approved by the Court in Humphrey’s Executor: the President

  may remove the Bureau’s director only for “inefficiency, neglect of duty, or malfeasance in

  office.” 12 U.S.C. § 5491(c)(3). Compare with 15 U.S.C. § 41 (“Any Commissioner may be

  removed by the President for inefficiency, neglect of duty, or malfeasance in office.”) (cited in

  Humphrey’s Executor, 295 U.S. at 619, 628, 632).


         ITT’s notion that the degree of insulation from executive oversight afforded the Bureau’s

  Director is explicitly proscribed by precedent therefore lacks merit. The Director is responsible

  directly to the President, without the additional layer of screening the Court found problematic in


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  the structure of the Public Company Accounting Oversight Board. Cf. Free Enterprise Fund, 561

  U.S. at 507 (distinguishing circumstances where “the President has . . . authority to initiate a

  Board member’s removal for cause”). The CFPA’s structure is thus unconstitutional only if the

  authority wielded by the Bureau exceeds the bounds recognized by Humphrey’s Executor and

  Morrison.


         Here, there is no doubt that the Bureau partakes of some of the quasi-legislative and

  quasi-judicial functions that characterize an independent regulatory agency. It is invested with

  the authority to engage in rulemaking to further implement Congress’s enactments on the subject

  of consumer financial protection, and its regulatory powers include administrative adjudication.

  12 U.S.C. §§ 5511, 5562–5565. Cf. Humphrey’s Executor, 295 U.S. at 628 (noting that the FTC

  “is an administrative body created by Congress to carry into effect legislative policies embodied

  in the statute”); Buckley v. Valeo, 424 U.S. 1, 140–141 (1976) (noting that the “administrative”

  functions performed by the Federal Election Commission are “of kinds usually performed by

  independent regulatory agencies”). The Bureau also undoubtedly wields paradigmatic

  “executive” powers—notably the authority to bring suit on behalf of the United States—but we

  find no basis for concluding that the Director’s powers are so great that the inability to remove

  him or her at whim fatally undermines the President’s constitutional prerogatives.


         While it is true that the Bureau does not operate only for a fixed time like a Department

  of Justice independent counsel, cf. Morrison, 487 U.S. at 672 (“[T]he office of the independent

  counsel is ‘temporary’ in the sense that an independent counsel is appointed essentially to

  accomplish a single task . . . .”), its enforcement powers are constrained within the subject-matter

  of its organic statute. ITT objects specifically to CFPA’s grant of litigating authority, arguing

  that the Bureau has “broad jurisdiction and significant power over numerous industries,” and that

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  “without meaningful Presidential control over the Director, the Director could initiate suits

  advancing his—and not the President’s—views on the proper construction of federal laws.”

  Def.’s Br. 9. But courts have long and consistently upheld the endowment of regulatory agencies

  with law enforcement powers against constitutional challenge. See Bowsher v. Synar, 478 U.S.

  714 (1986) (implicitly affirming the proposition that “officers of the United States” other than

  the President and Attorney General, such as FTC commissioners, may engage in the enforcement

  of federal law). This is true of the Securities and Exchange Commission, whose commissioners

  are subject to removal only for cause and which enjoys broad enforcement powers over publicly

  traded companies. See SEC v. Blinder, Robinson, & Co., Inc., 855 F.2d 677, 682 (10th Cir. 1988)

  (upholding the SEC’s constitutionality and observing that Humphrey’s Executor “stands

  generally for the proposition that Congress can, without violating Article II, authorize an

  independent agency to bring civil law enforcement actions where the President’s removal power

  was restricted to inefficiency, neglect of duty, or malfeasance in office”); see also SEC v.

  Sachdeva, 2011 WL 933967, at *1 (E.D. Wis. Mar. 16, 2011) (employing the same reasoning). It

  is true as well of the FTC, which possesses similar power to bring civil suit on the government’s

  behalf and upon whose organic statute a considerable portion of the CFPA’s operative language

  is based. See FTC v. Am. Nat’l Cellular, Inc., 810 F.2d 1511, 1514 (9th Cir. 1987).


         We therefore reject ITT’s argument that the Supreme Court’s established removal power

  jurisprudence forecloses the for-cause removal protections of the Bureau’s Director.


     3. ITT’s Alternate Grounds of Unconstitutionality


         In its reply brief, ITT shifts gears. Rather than contending that the Bureau runs afoul of

  any particular precedent, it asserts that no federal entity has heretofore “combine[d] the Bureau’s


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  panoply of problematic features”—including the length of the Director’s tenure, 12 U.S.C. §

  5491(c)(3); for-cause removal of the Director, id. at § 5491(c)(3); the fact that the Bureau’s

  authority is concentrated in a single director rather than a multi-member commission10, id. at §

  5491(b)(1); its “unconstitutionally appointed” Deputy Director, id. at § 5491(b)(5); its

  “immunity from the congressional appropriations process,” id. at § 5497(a)(2)(C); and its

  “unprecedented restrictions on judicial review,” id. at §§ 5512(b)(4)(B), 5513(a),

  5513(c)(3)(B)(ii), & 5513(c)(8); among other ostensibly problematic features. Def.’s Reply 3.


           There are at least two problems with ITT’s “mosaic” theory of the Bureau’s

  unconstitutionality. First, ITT never offers a convincing basis for the conclusion that many of

  these features of the CFPA contribute, even in a piecemeal sense, to the Bureau’s

  unconstitutionality. Second, its generalized assault on the “unprecedented” nature of the Bureau

  proceeds from the mistaken premise that that which is not specifically approved by precedent is

  forbidden.


           ITT notes, for instance, that the CFPA empowers the Director to delegate any or all of his

  powers to any “duly authorized employee, representative, or agent.” 12 U.S.C. § 5492(b). Citing

  the Supreme Court’s decision in Buckley v. Valeo, 424 U.S. 1 (1976), it then asserts that this

  power to delegate “further undermines the President’s control over Executive officials.” Def.’s



  10
    ITT never elaborates on this objection or provides any rationale for the objectionability of concentrating the
  agency’s authority in a Director rather than a commission. American constitutional history, in certain contexts, does
  undoubtedly betray a certain antipathy to the concentration of power. In the Federalist Papers, James Madison
  cautioned that “[t]he accumulation of all powers legislative, executive, and judiciary in the same hands . . . may
  justly be pronounced the very definition of tyranny.” The Federalist No. 47, p. 324 (J. Cooke ed. 1961). Justice
  Stevens later cited this language, in his opinion in Hamdan v. Rumsfeld, 548 U.S. 557 (2006), in explaining his
  opposition to the excessive combination of executive, legislative, and adjudicative authority in military tribunals.
  See Consumer Fin. Protection Bureau v. Morgan Drexen, Inc., 2014 WL 5785615, at *8 (C.D. Cal. Jan. 10, 2014)
  (citing Hamdan, 548 U.S. at 600–602). But we find no support for the notion that creating a consumer protection
  agency with a single head rather than a commission structure necessarily runs counter to constitutional principles,
  and ITT has certainly provided us with no such argument.

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  Br. 9 (citing Buckley, 424 U.S. at 36). The cited portion of Buckley merely reviews the body of

  Supreme Court precedent on the appointment and removal powers of the President, and reaffirms

  the unremarkable proposition that “members of independent agencies are not independent of the

  Executive with respect to their appointments.” 424 U.S. at 136. We have difficulty extracting

  from this language any notion that the Constitution is offended by allowing a presidential

  appointee to delegate some of her own authority to her subordinates; such delegation is a

  commonplace and unavoidable feature of any large institution. See, e.g., 21 U.S.C. § 871(a)

  (permitting the Attorney General to “delegate any of his functions [under the Controlled

  Substances Act] to any officer or employee of the Department of Justice”). See also Touby v.

  United States, 500 U.S. 160, 169 (1991) (implicitly affirming the constitutionality of the

  delegation authority granted in 21 U.S.C. § 871(a)).


         ITT also takes issue with the Director’s authority to appoint the Deputy Director. See

  Def.’s Br. 9 n.6 (citing 12 U.S.C. § 5491(b)(5)). The Constitution provides that Congress may

  vest the heads of Executive Departments with authority to appoint inferior officers. U.S. Const.

  Art. II, § 2, cl. 2; Free Enter. Fund, 561 U.S. at 510–511. ITT insists that the Bureau, as an entity

  “established in the Federal Reserve system”—itself an independent regulatory agency, see 12

  U.S.C. § 5491(a); 44 U.S.C. § 3502(5)—is not an Executive Department. The Director, it

  contends, thus lacks constitutional sanction to appoint his own deputy. We disagree. As the

  Bureau notes, the CFPB is not in any meaningful sense subordinate to the Federal Reserve Board

  of Governors, and its Director, as we have seen, is appointed by the President directly. Under the

  more expansive definition of “department” approved by the Court in Free Enterprise Fund, the

  Bureau likely qualifies as a “separate allotment or part of business; a distinct province, in which

  a class of duties are allotted to a particular person.” See 561 U.S. at 511 (concluding that the SEC


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  is a “‘Department’ for the purposes of the Appointments Clause”).11 We need not decide the

  question, however, because ITT has not attempted to demonstrate that the Deputy Director has

  any relationship to this matter, or that the unconstitutionality of his or her appointment process

  affects the Bureau’s standing to bring suit. See generally Ayotte v. Planned Parenthood of N.

  New England, 546 U.S. 320, 328–329 (2006) (discussing the severability of unconstitutional

  portions of statutes and affirming that, “[g]enerally speaking, when confronting a constitutional

  flaw in a statute, we try to limit the solution to the problem”).


           Turning to the Bureau’s funding, ITT complains that the “Director may unilaterally claim

  up to 12% of the Federal Reserve’s budget . . . without Congress’s approval.” Def.’s Br. 9 (citing

  12 U.S.C. § 5497(a)). According to ITT, this “immunity from the Congressional appropriations

  process” further contributes to the Bureau’s unconstitutionality. Def.’s Reply 3. ITT overstates

  the degree of the Bureau’s insulation from congressional control; more to the point, it neglects to

  explain how the Bureau’s source of funding implicates constitutional concerns. The CFPA does

  indeed restrict the House and Senate Appropriations Committees from reviewing the Bureau’s

  primary funding source, see 12 U.S.C. § 5497(a)(2)(C), but it does not strip Congress as a whole

  of its power to modify appropriations as it sees fit.12 As the Bureau has pointed out, the

  Constitution does not prohibit Congress from enacting funding structures for agencies that differ

  from the procedures prescribed by the ordinary appropriations process. See AINS, Inc. v. United

  States, 56 Fed. Cl. 522, 539 (Fed. Cl. 2003) (criticizing the “erroneous view that Congress



  11
     ITT’s undeveloped contention that the CFPB is unprecedented and problematic because it is “an independent
  agency within an independent agency,” Def.’s Reply 3 (citing 12 U.S.C. § 5491(a)), is unpersuasive for the same
  reason.
  12
     The statute empowers the Director to draw funds annually from the Federal Reserve in the amount he determines
  to be “reasonably necessary to carry out the authorities of the Bureau under Federal consumer financial law.” 12
  U.S.C. § 5497(a)(1). It does, however, place a formula-based spending cap on this amount, id. at § 5497(a)(2), and it
  imposes a number of other conditions on the Director’s use of the funds so derived.

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  cannot create special funds and self-financing programs distinct and isolated from the general

  Treasury funds”). Nor does the Constitution prohibit Congress from creating funding

  mechanisms that enjoy some degree of insulation from its own year-to-year control. “Congress

  itself may choose, however, to loosen its own reins on public expenditure. So, for example,

  although Congress ordinarily requires that appropriations be spent within a single year, it may

  also authorize appropriations that continue for a longer period of time.” Am. Fed’n of Gov’t

  Emps., AFL-CIO, Local 1647 v. Fed. Labor Relations Auth., 388 F.3d 405, 409 (3d Cir. 2004).

  See also See Nat’l Ass’n of Reg’l Councils v. Costle, 564 F.2d 583, 587 & n.10 (D.C. Cir. 1977).

  ITT”s conclusory assertion that the CFPA’s funding structure violates the Origination Clause,

  U.S. Const. Art. I, § 7, cl. 1, is therefore without merit.


           Lastly, ITT argues, in a footnote, that the “CFPA . . . limits judicial oversight in ways that

  are relevant to separation of powers analysis.” Def.’s Br. 10 n.7. ITT cites three statutory

  provisions in support of this point. Two of them, 12 U.S.C. § 5513(a) and 12 U.S.C. §

  5513(c)(3)(B)(ii), have nothing to do with judicial review. 13 The third cited provision does

  concern judicial review, stating that “the deference that a court affords the Bureau with respect to

  a determination by the Bureau regarding the meaning of interpretation of any provision of a

  Federal consumer law shall be applied as if the Bureau were the only agency authorized to apply,

  enforce, interpret, or administer the provisions of such Federal consumer financial law.” 12

  U.S.C. § 5512(b)(4)(B). This merely prescribes that the Bureau’s constructions of organic law in

  its subject area are to be given deference, in accordance with the well-established principles first

  enunciated in Chevron U.S.A., Inc. v. Natural Resources Defense Council, Inc., 467 U.S. 837


  13
    Both these subsections of the statute concern the authority of the Financial Stability Oversight Council established
  under subchapter 1 (12 U.S.C. § 5311 et seq.) of the legislation. They set for the Council’s ability to review, stay, or
  reverse a regulation promulgated by the Bureau under certain defined circumstances.

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  (1984). See Smiley v. Citibank (S.D.), N.A., 517 U.S. 735, 740 (1996) (“It is our practice to defer

  to the reasonable judgments of agencies with regard to the meaning of ambiguous terms in

  statutes that they are charged with administering.”). ITT has not succeeded in identifying

  anything remotely problematic about the CFPA’s provision for judicial review of the Bureau’s

  decisions.


           Regardless of the groundlessness of its individualized objections to the Bureau’s statutory

  features, ITT’s argument in reply proceeds from a flawed premise. The CFPA is undoubtedly

  new—and its combination of features thus, in some sense, “unprecedented.” Its constitutionality

  has not yet been subject to authoritative review by the Supreme Court or by any of the Courts of

  Appeals, and while a number of United States District Courts around the nation have begun to

  apply the Act, only one so far has addressed a challenge to its constitutionality based on the

  separation of powers.14 In that case, Consumer Financial Protection Bureau v. Morgan Drexen,

  Inc., --- F. Supp. 2d ----, 2014 WL 5785615 (C.D. Cal. Jan. 10, 2014), the Central District of

  California considered, and rejected, a defendant’s claims that the CFPA unlawfully abridged the

  President’s removal power and that the statute endowed the Director with unconstitutional power

  to delegate his or her authority. 2014 WL 5785615, at *3–4.




  14
    The Northern District of Illinois recently rejected a defendant’s argument that the Bureau is an unconstitutional
  entity because the operative provisions of the CFPA are impermissibly vague, in violation of the Due Process clause.
  See Illinois v. Alta Colleges, Inc., 2014 WL 4377579, at *3–4 (N.D. Ill. Sept. 4, 2014). We address this issue below,
  and we ultimately agree with the conclusion reached by our sister district court.

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           Apart from two law review articles15 and an opinion piece in the Wall Street Journal16,

  ITT cites no authority for its theory that the Bureau’s amalgamated features render it

  unconstitutional. Rather, it appears to argue that, because precedent does not explicitly sanction

  the Bureau’s structure and range of powers—which ITT asserts constitute “a gross departure

  from longstanding practice”—the CFPA exceeds constitutional bounds. Def.’s Reply 2. This

  inverts the premise from which we must start in exercising judicial review over Congress: the

  presumption of constitutionality. Morrison, 529 U.S. at 607; Brown v. Maryland, 25 U.S. 419,

  436 (1827). This principle of prudential judicial deference is a venerable one: Chief Justice

  Marshall, the Court’s first and greatest exponent of judicial review, cautioned that a court should

  declare legislation unconstitutional only when “[t]he opposition between the constitution and the

  law [is] such that the judge feels a clear and strong conviction of their incompatibility with each

  other.” Fletcher v. Peck, 10 U.S. 87, 128 (1810). Where Congress has acted, a challenge to the

  constitutionality of its enactments must show not merely that the legislature has taken a path not

  before explicitly sanctioned by the judicial branch, but that it has affirmatively violated

  constitutional principles.




  15
     Of the two articles cited by ITT, one posits that the Bureau’s “unique” structure raises questions of
  constitutionality, while the other more specifically critiques the Director’s power to appoint the Deputy Director. See
  Eric Pearson, A Brief Essay on the Constitutionality of the Consumer Financial Protection Bureau, 47 Creighton L.
  Rev. 99, 120–121 (Dec. 2013) (criticizing the “functionalist” approach to the separation of powers analysis); Kent
  Barnett, The Consumer Financial Protection Bureau’s Appointment with Trouble, 60 Am. U. L. Rev. 1459, 1488
  (June 2011) (arguing that “the Deputy Director's appointment is constitutional is a significant question” deserving of
  courts’ attention). Both articles, while certainly offering legitimate and serious analysis, proceed from a formalist
  understanding of the separation of powers that we conclude is not supported by the Supreme Court’s
  jurisprudence—including its most recent authoritative discussion of the issue in Free Enterprise Fund.
  16
     The article to which ITT refers, “Why Dodd-Frank is Unconstitutional,” was written by two attorneys in
  conjunction with a suit they filed in D.C. District Court seeking a declaration that Titles I, II, and X of the Act
  (including the CFPA) were unconstitutional. C. Boyden Gray & Jim R. Purcell, Why Dodd-Frank is
  Unconstitutional, Wall St. J., June 21, 2012, at A17. That suit was subsequently dismissed for lack of standing. See
  State Nat’l Bank of Big Spring v. Lew, 958 F. Supp. 2d 127 (D.D.C. 2013) (granting the Secretary of the Treasury’s
  motion to dismiss). While the article may be interesting as a sort of executive summary of that ill-fated suit, it hardly
  qualifies as constitutional analysis in its own right.

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         ITT thus bears a considerable burden in arguing that, though none of the CFPA’s features

  is itself expressly unconstitutional, the statute as a whole nonetheless runs afoul of the separation

  of powers. Such a showing is certainly not impossible. See Ass’n of Am. Railroads v. U.S. Dep’t

  of Transp., 721 F.3d 666, 673 (D.C. Cir. 2013) (“Just because two structural features raise no

  constitutional concerns independently does not mean Congress may combine them in a single

  statute.”). Moreover, while novelty does not create a presumption of unconstitutionality, a court

  may well find, in certain circumstances, that the lack of historical precedent for an entity raises a

  red flag. Nat’l Fed’n of Indep. Bus. v. Sebelius, 132 S. Ct. 2566, 2586 (2012) (in addressing the

  constitutionality of the “Obamacare” individual mandate, noting that while “there is a first time

  for everything,” “sometimes the most telling indication of a severe constitutional problem, is the

  lack of historical precedent”) (additional citations omitted). The Bureau, however, is no venture

  into uncharted waters; it is a variation on a theme—the independent regulatory agency with

  enforcement power—that has been a recurring feature of the modern administrative state. See

  Humphrey’s Executor, 295 U.S. at 629; SEC v. Blinder, Robinson, & Co., 855 F.2d 677, 682

  (10th Cir. 1988).


         With respect to the removal power doctrine that serves as the core of ITT’s claim, the

  question we must answer, at its simplest level, is a functional one: “whether the removal

  restrictions are of such a nature that they impede the President’s ability to perform his

  constitutional duty.” Morrison, 487 U.S. at 691. As we have already noted, we believe that the

  structure and powers of the Bureau are sufficiently analogous to those of the FTC, SEC, and

  other regulatory agencies that the question of the constitutionality of the CFPA’s removal

  provision is settled by Humphrey’s Executor and its progeny. See Humphrey’s Executor, 295

  U.S. at 629. See also Morgan Drexen, 2014 WL 5785615, at *4 (“It is no more difficult for the


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  President to assure that the Director of the CFPB is ‘competently performing his or her statutory

  responsibilities’ than it was for the President to oversee the leadership of the FTC at the time of

  Humphrey’s Executor.”). Additionally, ITT has not shown that any of the CFPA’s other

  provisions, whether considered individually or in the aggregate, unconstitutionally infringe on

  the President’s authority to “take care that the laws be faithfully executed”—or otherwise

  undermine the constitutional separation of powers. We therefore reject ITT’s challenge to the

  constitutionality of the Consumer Financial Protection Act on this basis.


  B. Statutory Vagueness in Violation of Due Process

           ITT also asserts that the Bureau’s claims against it under the CFPA fail because the

  statute’s prohibitions on “unfair” and “abusive” conduct “fail to give educational institutions fair

  notice of what is required of them.” Def.’s Br. 4 (citing FCC v. Fox Television Stations, Inc., 132

  S. Ct. 2307, 2317 (2012)). This vagueness, it insists, violates the Due Process clause of the Fifth

  Amendment and renders these portions of the CFPA unenforceable against ITT. 17

           “A fundamental principle in our legal system is that laws which regulate persons or

  entities must give fair notice of conduct that is forbidden or required.” Fox Television, 132 S. Ct.

  at 2315; Papachristou v. City of Jacksonville, 405 U.S. 156, 162 (1972) (“Living under a rule of

  law entails various suppositions, one of which is that all persons are entitled to be informed as to

  what the State commands or forbids.”) (citations omitted). A statute is void for vagueness if it

  “fails to provide a person of ordinary intelligence fair notice of what is prohibited, or is so

  standardless that it authorizes or encourages seriously discriminatory enforcement.” United


  17
     The Bureau correctly notes that, at least outside the context of First Amendment overbreadth, it is only
  appropriate here for ITT to challenge the statute as applied rather than facially. See Pl.’s Resp. 7 n.6 (citing Holder
  v. Humanitarian Law Project, 561 U.S. 1, 18 (2010)). See also Village of Hoffman Estates v. Flipside, Hoffman
  Estates, Inc., 455 U.S. 489, 494–495 (1982) (“A plaintiff who engages in some conduct that is clearly proscribed
  cannot complain of the vagueness of the law as applied to the conduct of others.”).

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  States v. Williams, 553 U.S. 285, 304 (2008); Hill v. Colorado, 530 U.S. 703, 732 (2000); Fuller

  ex rel. Fuller v. Decatur Pub. Sch. Bd. of Educ. Sch. Dist. 61, 251 F.3d 662, 666 (7th Cir. 2001).

  This doctrine is not implicated merely because “it may at times be difficult to prove an

  incriminating fact.” Fox Television, 132 S. Ct. at 2315. Nor can a court declare a law

  unconstitutionally vague based on “the mere fact that close cases can be envisioned” under its

  provisions. Williams, 553 U.S. at 305–306. Rather, we refuse to apply a statutory standard only

  where it is so amorphous that reasonable observers have no choice but to “guess at its meaning[,]

  and differ as to its application.” Connally v. Gen. Constr. Co., 269 U.S. 385, 391 (1926). See

  also Fox Television, 132 S. Ct. at 2315.

         The CFPA provides: “It shall be unlawful for . . . any covered person or service provider .

  . . to engage in any unfair, deceptive, or abusive act or practice.” 12 U.S.C. § 5536(a)(1)(B).

  Count One of the Complaint alleges that ITT violated the Act by engaging in “unfair” conduct,

  while Counts Two and Three allege “abusive” conduct. ITT argues that the unconstitutional

  vagueness of Section 5536, as applied here, mandates the dismissal of all three counts. Before

  addressing, in turn, the purported vagueness of the terms “unfair” and “abusive,” we pause to

  resolve the parties’ dispute regarding the level of judicial scrutiny warranted by the economic

  regulation in question.

         1. Level of Scrutiny

         Not all laws are created equal with respect to vagueness doctrine. “The degree of

  vagueness that the Constitution tolerates—as well as the relative importance of fair notice and

  fair enforcement—depends in part on the nature of the enactment.” Hoffman Estates v. Flipside,

  Hoffman Estates, Inc., 455 U.S. 489, 498 (1982). One important distinguishing factor is whether

  a statute imposes criminal, or merely civil, penalties; less clarity is demanded of laws or

                                                   27
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  regulations that are enforced through civil action rather than prosecution. Id. at 498–499 (“The

  Court has . . . expressed greater tolerance of enactments with civil rather than criminal penalties

  because the consequences of imprecision are qualitatively less severe.”); Gresham v. Peterson,

  225 F.3d 899, 908 (7th Cir. 2000) (observing that “laws imposing civil rather than criminal

  penalties do not demand the same high level of clarity”).18

           Regardless of whether a statute is civil or criminal in nature, courts also demand

  considerably greater clarity from laws impacting “the exercise of constitutionally protected

  rights”—particularly the expression rights guaranteed in the First Amendment. Hoffman Estates,

  455 U.S. at 499. If the enforcement of a law threatens to chill protected speech or the exercise of

  another fundamental right, we apply more stringent scrutiny to its clarity and the fairness of its

  notice. See Fox Television, 132 S. Ct. at 2318 (discussing the heightened stringency of the

  vagueness inquiry for regulations that “touch upon sensitive areas of basic First Amendment

  freedoms”) (quoting Baggett v. Bullitt, 377 U.S. 360, 372 (1964)). See also Reno v. Am. Civil

  Liberties Union, 521 U.S. 844, 870–871 (1997) (“The vagueness of [a content-based regulation

  of speech] raises special First Amendment concerns because of its obvious chilling effect”). We

  review economic regulations, however, with less severe scrutiny. This is because their “subject

  matter is often more narrow, and because businesses, which face economic demands to plan

  behavior carefully, can be expected to consult relevant legislation in advance of action. Indeed,



  18
     In a footnote to its reply brief, ITT argues that, under Hoffman Estates, the CFPA merits stricter review because
  its penalties, though civil in nature, are “quasi-criminal,” with a “prohibitory and stigmatizing effect.” Def.’s Reply
  5 n.5 (citing Hoffman Estates, 455 U.S. at 499). Though ITT is correct that the CFPA does authorize the imposition
  of heavy fines, 12 U.S.C. § 5565(c)(2), it forbids exemplary or punitive damages. And although it has sought
  rescission, restitution, disgorgement or compensation for unjust enrichment, and civil money penalties, its
  Complaint does not seek “public notification regarding the violation” or “limits on the activities or functions of the
  [defendant].” Compl. 33–34. Cf. 12 U.S.C. § 5565(a)(2). The possibility of steep fines, by itself, does not render a
  statute “quasi-criminal.” See Ford Motor Co. v. Tex. Dep’t of Transp., 264 F.3d 493, 508 (5th Cir. 2001). Cf. Karlin
  v. Foust, 188 F.3d 446, 465 (7th Cir. 1999) (statute is quasi-criminal in that it “imposes professional discipline” and
  levies forfeiture penalties upon physicians who make unreasonable emergency medical determinations).

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  the regulated enterprise may have the ability to clarify the meaning of the regulation by its own

  inquiry, or by resort to an administrative process.” Hoffman Estates, 455 U.S. at 498.

         Here, ITT asserts that, despite the concededly economic nature of the CFPA’s

  prohibitions, a stricter vagueness standard should nonetheless apply, for two reasons. First, it

  contends that economic regulations receive lax scrutiny only if their subject area is “narrow”;

  since the FCPA, by contrast, is “broad,” a reviewing court should demand more clarity. This

  misconstrues the case law. ITT cites Papachristou v. City of Jacksonville, 405 U.S. 156 (1972),

  in which the Court stated that “[i]n the field of regulatory statutes governing business activities,

  where the acts are in a narrow category, greater leeway is allowed.” 405 U.S. at 162. In both

  Papachristou and the landmark Hoffman Estates decision that followed it, the Supreme Court

  reasoned that economic regulations deserve looser scrutiny not if their subject matter is narrow,

  but because the subject matter of such regulations is inherently more likely to be narrow. Id.,

  Hoffman Estates, 455 U.S. at 498. See also Sweet Home Chapter of Communities for a Great

  Oregon v. Babbitt, 1 F.3d 1, 4 (D.C. Cir. 1993) (noting that “modern vagueness cases have

  invariably afforded less protection” to regulations of economic activity) (emphasis added). Like

  other federal regulatory statutes, the FCPA is indeed “narrower” than a criminal statute, in that it

  applies only to certain covered entities and to a particular class of economic activity. See 12

  U.S.C. § 5536(a)(1).

         Second, ITT insists that the CFPA warrants greater scrutiny because it does, in fact,

  impinge on its constitutionally protected rights. ITT urges that it has a “constitutionally protected

  property interest[]” in participating in federal student loan programs, and the regulation of its




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  communications to its students chills its First Amendment speech rights. 19 Def.’s Reply 4–5. ITT

  proves too much by this contention: such a broad conception of a statute’s impact on

  constitutional rights would render the distinction between economic and non-economic

  regulations nugatory. Almost by definition, an economic regulation impacts the “property”

  interests of the regulated party; short of contending that the CFPA constitutes a “taking” without

  due process of its property interest in participating in the federal student loan programs under the

  Fifth Amendment—a claim ITT never makes—ITT cannot invoke the aura of fundamental

  constitutional rights simply because the law impacts the disposition of its property. See, e.g.,

  Betancourt v. Bloomberg, 448 F.3d 547 (2d Cir. 2006) (city ordinance forbidding property from

  being left in public areas, as applied to a homeless man’s cardboard shelter, did not encroach on

  any constitutionally protected rights).

           ITT’s invocation of its free speech rights is similarly overstated. In support of the notion

  that “the Bureau . . . is attempting to impose liability for truthful communications between ITT

  and students, chilling ITT’s First Amendment rights,” ITT cites Sorrell v. IMS Health, Inc., 131

  S. Ct. 2653, 2664 (2011). Unlike the law at issue in Sorrell, however, the CFPA does not target

  commercial speech; still less does it constitute content discrimination. Cf. 131 S. Ct. at 2665

  (“But [the statute] imposes more than an incidental burden on protected expression. Both on its

  face and in its practical operation, Vermont’s law imposes a burden based on the content of

  speech and the identity of the speaker.”). Commercial activity inevitably involves

  “communications” between buyers and sellers; it does not follow, however, that economic



  19
     ITT also urges that it “has a protected interest in not being subject to an enforcement action by an unconstitutional
  agency.” Def.’s Reply 5 (citing Nat’l Labor Relations Bd. v. Noel Canning 134 S. Ct. 2550, 2559 (2014); Free
  Enter. Fund, 561 U.S. at 491 & n.2). We have already entertained, and rejected, ITT’s argument that the Bureau’s
  structure is unconstitutional. Alternatively, if ITT is attempting to argue that the operative language of the CFPA is
  unconstitutionally vague because the CFPA is unconstitutional, ITT is arguing in circles.

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  regulations targeting economic behavior violate the First Amendment simply because they might

  impact speech in this broadest sense. Id. at 2664 (“[T]he First Amendment does not prevent

  restrictions directed at commerce or conduct from imposing incidental burdens on speech.”). A

  great deal of the body of national antitrust and consumer protection law—of which the CFPA is

  the latest exemplar—depends for its well-established legality on the recognition that “it has

  never been deemed an abridgement of freedom of speech or press to make a course of conduct

  illegal merely because the conduct was in part initiated, evidenced, or carried out by means of

  language, either spoken, written, or printed.” See Giboney v. Empire Storage & Ice Co., 336 U.S.

  490, 502 (1949).

         We therefore conclude that, as a statute imposing only civil liability and governing

  economic activity rather than protected constitutional interest like free expression, the CFPA’s

  language is not subject to heightened scrutiny for vagueness. See Illinois v. Alta Colleges, Inc.,

  2014 WL 4377579, at *3–4 (N.D. Ill. Sept. 4, 2014) (finding that “the CFPA is an economic

  regulation . . . subject to a lenient vagueness test”). We proceed to consider the two statutory

  terms at issue with that understanding in mind.

         2. “Unfair” Act or Practice

         ITT argues that the CFPA’s prohibition on “any unfair . . . act or practice,” 12 U.S.C. §

  5536(a)(1)(B), is utterly “standardless” and thus unacceptably vague. Because the prohibition on

  “unfair” practices taps into a well-developed and long-established definition of the term, we

  disagree.

         It is a fundamental canon of construction that when Congress employs a term with a

  specialized meaning relevant to the matter at hand, that meaning governs. See Moskal v. United


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  States, 498 U.S. 103, 121 (1990) (Scalia, J., dissenting). If Congress has “borrowed” a term of art

  from its own existing body of legislation, we therefore presume that it did so advisedly. See

  Morissette v. United States, 342 U.S. 246, 263 (1952). In the words of Justice Frankfurter, “if a

  word is obviously transplanted from another legal source, whether the common law or other

  legislation, it brings its soil with it.” Felix Frankfurter, Some Reflections on the Reading of

  Statutes, 47 Colum. L. Rev. 527, 537 (1947).

          Here, the statute’s prohibition on “any unfair [or] deceptive act or practice” closely

  mirrors the language employed by Section 5 of the Federal Trade Commission Act, which

  proscribes “unfair or deceptive acts or practices in or affecting commerce.”15 U.S.C. § 45(a)(1).

  The Bureau’s own Supervision and Examination Manual confirms what the near-identical

  language of the two statutes suggests: that longstanding interpretations of the FTCA should

  inform interpretation of the CFPA as well. See CFPB Supervision and Examination Manual at

  174 n.2 (2d ed. 2012).20

          The FTCA is now more than a century old, and the meaning of its terminology—such as

  “unfair or deceptive acts or practices” (or “UDAPs”)—has been given concrete shape by

  successive generations of interpretation and refinement. Indeed, the definition has grown more

  precise over time. “A practice is ‘unfair,’” as the Seventh Circuit observed in 1976 according to

  the FTC’s older, broader standard, when it “offends established public policy and when the

  practice is immoral, unethical, oppressive, unscrupulous or substantially injurious to consumers.”

  Spiegel, Inc. v. FTC, 540 F.2d 287, 293 (7th Cir. 1976). From the earliest days of the statute,

  courts had turned aside challenges to the language on the basis of vagueness. “The phrase is no



  20
    Accessed at http://files.consumerfinance.gov/f/201210_cfpb_supervision-and-examination-manual-v2.pdf
  (February 19, 2015).

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  more indefinite than ‘due process of law.’ . . . If the expression ‘unfair methods of competition’

  is too uncertain for use, then under the same condemnation would fall the innumerable statutes

  which predicate rights and prohibitions upon ‘unsound mind,’ ‘undue influence,’ . . . ‘unfair use,’

  . . . and the like.” Sears, Roebuck & Co. v. Fed. Trade Comm’n, 258 F. 307, 311 (7th Cir.

  1919).21 A 1980 FTC policy statement, followed by a 1994 congressional amendment to the

  statutory language itself, provided more robust—and quantitative—guidance on the meaning of

  the term. Conduct may only qualify as an unfair act or practice (UDAP) if it: (1) causes or is

  likely to cause substantial injury to consumers; (2) which is not reasonably avoidable by

  consumers themselves, and (3) is not outweighed by countervailing benefits to consumers or

  competition. See 15 U.S.C. § 45(n), added by P.L. 103-312, § 9 (Aug. 26, 1994).

           ITT’s contention that the term “unfair . . . act or practice” is unconstitutionally vague

  falters in the face of a century’s worth of legislative and judicial guidance establishing and

  refining the term’s meaning. We recognize, of course, that the language itself may be “inherently

  insusceptible of precise definition.” See Scott v. Ass’n for Childbirth at Home, Int’l, 430 N.E.2d

  1012, 1018 (Ill. 1981).22 But Congress’s charter for an agency could not, and should not, use

  descriptions so precise that they foreclose any interpretive uncertainty. “[F]ew words possess the

  precision of mathematical symbols; most statutes must deal with untold and unforeseen


  21
     Although the statute was never overturned as vague and was repeatedly held to be enforceable by the courts, it
  must be noted in the interests of historical accuracy that the 1980 FTC guidance and subsequent 1994 statutory
  amendment were prompted, at least in part, by criticism that the existing construction of the language rendered it too
  indefinite. See, e.g., Nelson, The Politicization of FTC Rulemaking, 8 Conn. L. Rev. 413, 414 (1976); The
  Washington Post, Sec. A, p. 22 (Mar. 1, 1978) (cited in “Modern Refinement of F.T.C. Standards,” 1 Consumer
  Law Sales Practices and Credit Regulation § 120 (updated Sept. 2014)).
  22
     ITT also cites Beler v. Blatt, Hasenmiller, Liebsker & Moore, 480 F.3d 470, 474 (7th Cir. 2007), a Seventh Circuit
  decision which observes that, in the context of the FDCPA, “the phrase ‘unfair or unconscionable’ is as vague as
  they come.” 480 F.3d at 474. The court noted that the statute authorized the FTC to issue advisory opinions “giving
  shape to these and other vague terms”; the problem was that there, unlike here, no such agency guidance had been
  forthcoming. Id. Regardless, the court in Beler addressed a different question than that presented here: whether
  “federal judges ought . . . use this ambulatory language to displace decisions consciously made by state legislatures
  and courts about how judgment creditors collect judgments entered under state law.” Id. at 475.

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  variations in factual situations, and the practical necessities of discharging the business of

  government inevitably limit the specificity with which legislators can spell out prohibitions.”

  Grayned v. City of Rockford, 408 U.S. 104, 110 (1972). The CFPA, like the FTCA before it, has

  empowered the agency itself to fill in the broad outlines of its authority with specific regulations

  and interpretations. The agency and the courts have done so in fleshing out the term “unfair . . .

  act or practice,” and Congress has tapped into that existing body of law in framing the CFPA

  with identical terminology. We thus have no difficulty in rejecting ITT’s suggestion that a

  reasonable business entity would be forced to guess at the term’s meaning, or would be subject

  to agency’s standardless discretion in its enforcement. Cf. Papachristou, 405 U.S. at 391.23

           3. “Abusive” Act or Practice

           ITT likewise argues that the CFPA’s prohibition on “abusive” acts or practices, upon

  which Counts Two and Three of the Complaint are predicated, is unconstitutionally vague.

           The one respect in which the CFPA’s definition of covered misconduct differs from that

  of the FTCA is the addition of the term “abusive.” Compare 12 U.S.C. § 5536(a)(1)(B) with 15

  U.S.C. § 45(a). The legislative history of the CFPA suggests that the term was added, in part, to

  enable the Bureau to reach forms of misconduct not embraced by the more rigid, cost-benefit

  standard that had grown up around the terms “unfair” and “deceptive.” Sheila Bair, then the

  chairwoman of the FDIC, advocated adding the term to consumer finance legislation in a 2007

  hearing, stating: “‘Abusive’ is a more flexible standard [than “unfair” or “deceptive”] to address

  some of the practices that make us all uncomfortable.” Improving Fed. Consumer Protection in



  23
    ITT’s argument that the statute is vague and standardless is somewhat compromised by its ease in applying the
  very same supposedly nonexistent standards, later in its brief, to insist that the Bureau has failed to state a claim for
  unfair acts or practices.

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  Fin. Servs., Hearing Before the H. Comm. on Fin. Servs., 110th Cong. 37–41 (2007). The new

  “abusive” standard is one of the chief salient features of the CFPA, and has been widely

  recognized as such. See Tiffany S. Lee, No More Abuse: The Dodd-Frank and Consumer Fin.

  Protection Act’s “Abusive” Standard, 14 J. Consumer & Com. L. 118, 119–121 (2011)

  (collecting academic and industry commentary).

           Contextual evidence thus suggests that “abusive” conduct is defined according to a more

  flexible, expansive standard than had heretofore been present in federal consumer protection law.

  See Improving Fed. Consumer Protection, supra, at 40. We need not read the tea leaves of

  legislative history, however, to apprehend a standard according to which abusive conduct may be

  measured. In fact, the statute itself provides significant guidance:

           The Bureau shall have no authority under this section to declare an act or practice
           abusive in connection with the provision of a consumer financial product or
           service, unless the act or practice—
               (1) Materially interferes with the ability of a consumer to understand a term or
                   condition of a consumer financial product or service; or
               (2) Takes unreasonable advantage of—
                   (A) a lack of understanding on the part of the consumer of the material
                       risks, costs, or conditions of the product or service;
                   (B) the inability of the consumer to protect the interests of the consumer in
                       selecting or using a consumer financial product or service; or
                   (C) the reasonable reliance by the consumer on a covered person to act in
                       the interests of the consumer.
  12 U.S.C. § 5531(d).24


  24
     ITT contends that this provision’s reference to “unreasonable advantage” and “reasonable reliance” is itself vague.
  ITT’s Br. 12. In support, it quotes Justice Scalia’s concurrence in Harris v. Forklift Sys., Inc., 510 U.S. 17 (1993), in
  which he opined that “‘[a]busive’ . . . does not seem to me a very clear standard—and I do not think clarity is at all
  increased by adding the adverb ‘objectively’ or by appealing to a ‘reasonable person[’s]’ notion of what the vague
  word means.” 510 U.S. at 24 (Scalia, J., concurring). While Justice Scalia complained about the indefinite nature of
  the standards guiding judicial construction of a criminal statute’s prohibition of “abusive” conduct—and further
  observe that the “reasonable man” test did not meaningfully clarify matters—he did not actually assert that the
  statute in question was void for vagueness. And as the Bureau has noted, the use of “reasonableness” as a proxy for
  objectivity is hardly an alien feature in the law. See Barclays Bank PLC v. Franchise Tax Bd. of Cal., 512 U.S. 298,
  315–316 (1994) (“We note, initially, that ‘reasonableness’ is a guide admitting effective judicial review in myriad
  settings, from encounters between the police and citizenry . . . to the more closely analogous federal income tax

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           ITT observes, correctly, that “abusive” is a novel term in the context of the statute. To

  emphasize what they characterize as the fatal indefiniteness of the language, they quote the 2012

  hearing testimony of inaugural Bureau Director Richard Cordray:

           [The Bureau] ha[s] been looking at it, trying to understand it, and we have
           determined that that is going to have to be a fact and circumstances issue . . . .
           Probably not useful to try to define a term like that in the abstract; we are going to
           have to see what kind of situations may arise where that would seem to fit the bill
           under the prongs.
  How Will the CFPB Function Under Richard Cordray: Hearing Before the Subcomm. on TARP,

  Fin. Servs. & Bailouts of Pub. & Private Programs, 112th Cong. 112-107, at 69 (2012). While

  the term’s meaning may be less well-established in the field of consumer protection that that of

  “unfair,” however, the CFPA hardly marks the first time Congress has employed it. The Fair

  Debt Collections Practices Act (FDCPA), first enacted in 1977, specifically declared as its aim to

  redress “the use of abusive, deceptive, and unfair debt collection practices by many debt

  collectors.” 15 U.S.C. § 1692(a). The statute prohibits “any conduct the natural consequence of

  which is to harass, oppress, or abuse any person,” and it proceeds to enumerate a non-exhaustive

  list of six types of offending conduct. 15 U.S.C. § 1692d. The FTC has brought over 60

  enforcement actions pursuant to this provision since it became effective in 1978, enabling the

  growth of an appreciable corpus of judicial commentary explicating the meaning of abusive

  treatment of consumers. See Amanda L. Wait, The New Bureau of Consumer Fin. Protection –

  An Overview, at 1 (Am. Bar Ass’n 2010). In a similar vein, the Federal Telemarketing Sales Rule

  (“FTSR”), promulgated under the Telemarketing and Consumer Fraud and Abuse Prevention




  context.”) (citations omitted); United States v. Ragen, 314 U.S. 513, 522 (1942) (noting that determinations “by
  reference to a standard of ‘reasonableness’ are not unusual under federal income tax laws”).

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  Act, 15 U.S.C. § 6102, forbids “abusive telemarketing acts or practices.” 16 C.F.R. § 310.4. Like

  the FDCPA, the Rule provides an illustrative list of conduct qualifying as “abusive.” Id.

         ITT also cites judicial decisions in which judges expressed frustration with the

  amorphous nature of the term “abusive.” In Ustrak v. Fairman, 781 F.2d 573 (7th Cir. 1986), the

  Seventh Circuit decried a prison regulation forbidding “disrespectful” and “abusive” prisoner

  conduct for its vagueness. The court declined to find the regulation unconstitutional, however,

  reasoning that First Amendment vagueness doctrine is less strictly applied in the context of

  prisons. 781 F.3d at 580. In Harris v. Forklift Sys., Inc., 510 U.S. 17 (1993), Justice Scalia—

  concurring separately—discussed Title VII’s prohibition on “hostile or abusive work

  environments.” He mused that “‘[a]busive’ (or ‘hostile,’ which in this context I take to mean the

  same thing) does not seem to be a very clear standard.” 510 U.S. at 24 (Scalia, J., concurring).

  Despite his misgivings about the statute’s language, however, he acquiesced in the test the Court

  had adopted to give shape to the “inherently vague statutory language.” Id. at 25.

         As ITT itself acknowledges, however, the issue before us is not whether the word

  “abusive” can be vague in any context, but whether the statutory language incorporating that

  term gives ITT fair notice of conduct forbidden and permitted in this context. Def.’s Reply 5

  (citing Holder, 561 U.S. at 18). Because the CFPA itself elaborates the conditions under which a

  business’s conduct may be found abusive—and because agencies and courts have successfully

  applied the term as used in closely related consumer protection statutes and regulations—we

  conclude that the language in question provides at least the minimal level of clarity that the due

  process clause demands of non-criminal economic regulation. See Alta Colleges, Inc., 2014 WL

  4377579, at *3–4. Cf. Gates & Fox Co., Inc. v. Occupational Safety & Health Review Comm’n,

  790 F.2d 154, 156 (D.C. Cir. 1986) (invalidating OSHA’s interpretation of a regulation as

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  applied to a defendant, but expressing no opinion on “whether, in a non-penal context, the

  Commission’s interpretation . . . might be permissible”).25

  II.      Whether ITT is a “Covered Entity”

           ITT argues that Counts One, Two, and Three of the Complaint fail to state a claim

  because ITT is not a covered entity subject to suit under the CFPA. Def.’s Br. 13–19. We

  conclude that, taking the Bureau’s factual allegations as true, the pleadings place ITT within the

  statute’s purview.

           The operative provisions under which the Bureau has sued ITT apply only to a “covered

  person” or “service provider.” 12 U.S.C. § 5536(a)(1). The Act defines a “covered person,” in

  turn, as “any person that engages in offering or providing a consumer financial product or

  service.” 12 U.S.C. § 5481(6)(A). A “product or service,” as the phrase implies, is more than

  simply the direct extension of a loan to a consumer: it may include “brokering” or servicing

  loans, 12 U.S.C. § 5481(15)(A)(i), as well as “providing financial advisory services . . . to

  consumers on individual financial matters.” Id. at § 5481(15)(A)(viii). The CFPA defines a

  “service provider,” on the other hand, as one who “provides a material service to a covered


  25
     In a footnote to its brief, ITT argues that these statutory provisions are unconstitutional, alternatively, because
  they constitute impermissible delegation of legislative power to the Executive Branch. Def.’s Br. 12 n.9. Congress
  cannot grant an executive agency rulemaking powers so broad that it has empowered the agency to engage in de
  facto legislating itself—in other words, Congress’s mandate must lay down “an intelligible principle to which the
  [agency] is directed to conform.” Whitman v. Am. Trucking Ass’ns, 531 U.S. 457, 472 (2001). The Supreme Court
  has invalidated Acts of Congress on this basis on less than a handful of occasions; most famously, in A.L.A.
  Schechter Poultry Corp. v. United States, 295 U.S. 495 (1935), the Court struck down a portion of the National
  Industrial Recovery Act, a centerpiece of the New Deal, because it granted the President the authority to regulate the
  economy by promulgating “codes of fair competition.” 295 U.S. at 531. While the Supreme Court’s relatively recent
  decision in Whitman may have dispelled the impression that the “non-delegation” doctrine was a dormant relic of
  pre- (or anti-) New Deal conservatism, there is no doubt here that Congress has supplied an “intelligible principle”
  to the Bureau. As the Bureau points out, the degree of specificity provided in the CFPA compares quite favorably to
  other organic statutes that have withstood constitutional challenge. See, e.g., Yakus v. United States, 321 U.S. 414,
  420, 426–427 (1944) (mandate to the Office of Price Administration to fix “fair and equitable” commodity prices
  laid down an intelligible principle); Touby v. United States, 500 U.S. 160, 165–167 (1991) (provision of Controlled
  Substances Act empowering Attorney General to classify a drug on a temporary basis where “necessary to avoid an
  imminent hazard to the public safety” laid down an intelligible principle).

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  person in connection with” the covered person’s offering of a “consumer financial product.” Id.

  at § 5481(26)(A). Such material service may include participating in “designing, operating, or

  maintaining the consumer financial product or service,” or processing “transactions relating to

  the consumer financial product or service.” Id.

         ITT may thus qualify as a “covered person” in three ways germane to the conduct

  alleged: (1) as a direct provider of consumer financial products—loans—to its students; (2) as a

  “broker” of those loans or other credit instruments; or (3) by providing “financial advisory

  services” to students. Alternatively, it may qualify as a “service provider” if it provided a

  material service to another covered entity—here, the originator of the third-party loans—as

  defined under the statute.

  A. Whether ITT is a “Covered Person”

         1. “Engages In”

         As an antecedent matter, ITT insists that it is not a “covered person” because it has not

  “engaged in” any of the statutory activities. According to ITT, an entity “engages” in the

  provision of consumer financial products or services only if it does so as a business or

  profession. Since it is primarily an educational institution and only tangentially, if at all, involved

  in consumer financial products and services, ITT maintains that its business falls outside the

  CFPA’s scope. Def.’s Reply 8–9.

         ITT notes, correctly, that we should “look to the language and design of the statute as a

  whole” in construing the meaning of a particular statutory provision. Def.’s Reply 8 (citing

  United States v. Graham, 305 F.3d 1094, 1102 (10th Cir. 2002)). It then points to 12 U.S.C. §

  5393(b)(1)(B), a provision which extends the coverage of a different portion of the consumer


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  protection law to executives and senior officers of companies who “engaged or participated in

  any unsafe or unsound practice.” 12 U.S.C. § 5393(b)(1)(B). The use of the disjunctive “or,” ITT

  contends, signals that to “engage” must denote a greater degree of involvement than mere

  “participation.” Def.’s Reply 9. ITT also appeals to Webster’s Dictionary, one of whose

  definitions of “engage” is “to begin and carry on an enterprise, especially a business or

  profession.” Id. at 8 (citing Webster’s Third New Int’l Dictionary 751 (1976)).

         We are not persuaded that the CFPA uses “engage” here in anything other than its

  ordinary sense. “When a word is not defined by statute, we normally construe it in accord with

  its ordinary or natural meaning.” Smith v. United States, 508 U.S. 223, 228 (1993). “In

  ascertaining the plain meaning of [a] statute,” in turn, “[we] must look to the particular statutory

  language at issue, as well as the language and design of the statute as a whole.” K-Mart Corp. v.

  Cartier, Inc., 486 U.S. 281, 291 (1988). The plainest meaning of the term “engage” is “to occupy

  or involve oneself; take part; be active.” See United States v. Graham, 305 U.S. 1084, 1102 (10th

  Cir. 2002) (citing Webster's New World College Dictionary at 450 (3rd ed.1997)). Congress’s

  use of the term elsewhere in the Dodd-Frank Act comports with this broad, common-sense

  reading. See Robinson v. Shell Oil Co., 519 U.S. 337, 341 (1997) (“The plainness or ambiguity

  of statutory language is determined by reference to the language itself, the specific context in

  which that language is used, and the broader context of the statute as a whole.”). For instance,

  the Act defines the term “person regulated by a State insurance regulator” as “any person that is

  engaged in the business of insurance.” 12 U.S.C. § 5481(22) (emphasis added). If “engaging” in

  an activity were synonymous with “being in the business of” that activity, this definition would

  be redundant. Cf. In re Total Realty Management, LLC, 706 F.3d 245, 251 (4th Cir. 2013)

  (“Principles of statutory construction require ‘a court to construe all parts to have meaning’ and,


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  accordingly, avoid constructions that would reduce some terms to mere surplussage.”) (quoting

  PSINet, Inc. v. Chapman, 362 F.3d 227, 232 (4th Cir. 2004)).26

           2. “Financial Advisory Services”

           ITT may thus qualify as a “covered person” under the CFPA so long as it involved itself

  in any of the statutorily-governed conduct, regardless of whether doing so was its primary

  business focus. Here, the Bureau has not pleaded that ITT itself offered to students the “third-

  party loans” that are the subject of its claims—at least in the sense that ITT, rather than the third-

  party creditors, was the titular lender. See Compl. ¶¶ 11, 18, 98, 110, 130. See also Compl. ¶ 17

  (alleging that ITT engaged in “offering or providing loans, through certain private loan

  programs, to its students”) (emphasis added).27 Nor has the Bureau satisfactorily pleaded that

  ITT served as a “broker,” as the statute defines that term. The Dodd-Frank Act expressly

  incorporates the definition of “broker” contained in the Securities Exchange Act of 1934. 12

  U.S.C. § 5301(15). A broker is therefore “any person engaged in the business of effecting




  26
     We find that ITT’s citation to another portion of the statute, 12 U.S.C. § 5393(b)(1)(B), which refers to a company
  that “engaged or participated” in qualifying activities, is less persuasive. As we have noted, ITT insists that the
  disjunctive “or” should signal that to engage is to be involved in greater depth in an activity than to merely
  participate. But the fact that the statute uses those two words tells us nothing about which of the two has the
  “deeper” meaning, if either. In our view, this passage is most naturally read as an instance of what Justice Scalia
  called the “iteration to which lawyers, alas, are particularly addicted—such as ‘give, grant, bargain, sell, and
  convey,’ . . . or ‘right, title, and interest.’” Moskal v. United States, 498 U.S. 103, 120 (Scalia, J., dissenting) (citing
  B. Garner, A Dictionary of Modern Legal Usage, at 197–200 (1987)). Webster’s Dictionary, for instance, recognizes
  that the two words may be used interchangeably. Webster’s Third New Int’l Dictionary 751 (3d ed. 1993).
  27
     The CFPA’s “merchant exclusion,” 12 U.S.C. § 5517(a), does not apply. The Act states that the Bureau may not
  generally exercise authority “with respect to a person who is a merchant, retailer, or seller of any nonfinancial good
  or service and is engaged in the sale or brokerage of such nonfinancial good or service.” Id. at § 5517(a)(1). The
  exclusion only applies, however, insofar as the merchant in question “extends credit directly to a consumer . . . for
  the purpose of enabling that consumer to purchase” non-financial goods from that merchant—or engages in two
  other types of conduct not material here. Id. at § 5517(a)(2)(i)–(iii).With respect to the private loans, the Bureau has
  not successfully pleaded that ITT “directly extended” credit; therefore, any statutory exclusion that would bar this
  route to liability is irrelevant. With respect to the Temporary Credit, the Bureau has pleaded that ITT charged
  students a “finance charge.” See Compl. ¶¶ 185–187 (citing 12 C.F.R. § 1026.4(b)(9)). Under another limitation to
  the statutory exemption, ITT’s conduct in “regularly” extending credit that bears a finance charge is also unshielded
  by the “merchant exclusion.” See 12 U.S.C. § 5517(a)(2)(B)(iii).

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  transactions . . . for the account of others.”28 15 U.S.C. § 78c(a)(4)(A). While the Bureau protests

  that we should apply this definition only “except as the context otherwise requires,” 12 U.S.C. §

  5301, it has pointed to no indication that the context of Title X actually does dictate a different

  usage. In fact, the CFPA’s own definitions section makes reference to “broker[s] or dealer[s] that

  [are] required to be registered under the Securities Exchange Act”—a context clue that, if

  anything, further suggests that the specialized, imported meaning applies. 12 U.S.C. §

  5481(21)(A). Because the Bureau has not alleged that ITT was engaged in the “business” of

  effecting loan transactions on behalf of its students, its conduct as an educational institution does

  not qualify it as a broker under 12 U.S.C. § 5481(15)(A)(i).

           The Bureau has, however, sufficiently stated a claim that ITT engaged in conduct

  qualifying as the provision of “financial advisory services.” The Act specifies that such advisory

  services include, without limitation, “providing credit counseling to any consumer” and

  “providing services to assist a consumer with debt management or debt settlement, modifying the

  terms of any extension of credit, or avoiding foreclosure.” 12 U.S.C. § 5481(15)(A)(viii). The

  Complaint includes allegations that ITT advised students on how to manage their debt to the

  school after having taken out Temporary Credit; this advice often channeled the students into the

  private loan programs. Compl. at ¶¶ 110, 138–151. According to the Bureau, ITT completed

  nearly every step in the process of acquiring CUSO loans on the students’ behalf, including

  filling out the requisite forms (save signatures) and forwarding them to the lending credit union.

  Id. at ¶¶ 91–92, 122, 139. At a minimum, we conclude that such conduct, if proven, would fall

  within the realm of “credit counseling” and “assist[ing] a consumer with debt management.”



  28
    The Securities Exchange Act definition further specifies that the “transactions” in question must be “in securities.”
  15 U.S.C. § 78c(a)(4)(A). We assume that Congress intended to import the definition without that limitation;
  including the limitation would render the definition inapposite for the context of consumer financial protection.

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          ITT retorts that, despite the fact that the statute itself defines “financial advisory services”

  only by a non-exclusive list of qualifying conduct, we should apply a more specialized,

  restrictive definition: those services “so closely related to banking . . . as to be a proper incident

  thereto.” Def.’s Br. 16 (citing 12 C.F.R. § 225.28(a)). It bases this definition on the CFPA’s

  legislative history—specifically, the report of the Committee on Banking, Housing, and Urban

  Affairs to the full Senate recommending the measure’s passage. S. Rep. No. 111-176, at 160

  (2010). That report, officially authored by Senator Dodd, notes that the term “financial product

  or service,” as used in the CFPA, was “modeled on the activities that are permissible for a bank

  or a bank holding company, such as under section 4(k) of the Bank Holding Company Act

  [BHCA] and implementing regulations.” Id. The BHCA, which as its title suggests regulates

  bank holding companies, provides in relevant part that, in addition to banking itself, the

  regulated entities are permitted to engage in activities that are “financial in nature or incidental to

  such financial activity” or are “complementary to a financial activity.” 12 U.S.C. § 1843(k). Both

  that statute and its implementing “Regulation Y” go on to provide lists of such permissible

  activities. Id. at § 1843(k)(4); 12 C.F.R. § 225.28(b).

          We approach the use of legislative history as an aid to statutory interpretation with

  serious reservations. The myriad legislative materials accompanying any statute, none of which

  have been subject to bicameralism and presentment, lend themselves easily to manipulation. In

  the Supreme Court’s words, “judicial investigation of legislative history has a tendency to

  become . . . an exercise in ‘looking over a crowd and picking out your friends.’” Exxon Mobil

  Corp. v. Allapatah Servs., Inc., 545 U.S. 546, 568 (2004) (citations omitted). Committee reports

  merit particular skepticism, for they “may give unrepresentative committee members—or, worse

  yet, unelected staffers and lobbyists—both the power and the incentive to attempt strategic


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  manipulations of legislative history to secure results they were unable to achieve through the

  statutory text.” Id. See also Milner v. Dep’t of the Navy, 131 S. Ct. 1259, 1267 (2011).

         Those reservations notwithstanding, ITT’s reasoning is unconvincing. While the

  reference to activities “so closely related to banking . . . as to be a proper incident thereto” may

  seem on its face as if it would exclude any activities conducted by an educational entity, the

  definition proffered by the BHCA and its regulations is permissive in nature—and is

  accompanied by a broad list of non-banking activities that qualify. The BHCA provides that

  “[p]roviding financial, investment, or economic advisory services” qualifies as an activity that is

  “financial in nature.” 12 U.S.C. § 1843(k)(4)(C). Its implementing regulation affirms that

  “[f]inancial and investment advisory activities” are permissible for the bank holding companies

  subject to the statute. 12 C.F.R. § 225.28(b)(6). Even if Congress did intend the statute to track

  the BHCA’s definition, in other words, the BHCA does not state that “activities so closely

  related to banking . . . as to be incident thereto” excludes advisory services. And as to what the

  term “advisory services” itself means, the BHCA is no more enlightening than the CFPA. Where

  legislative history has interpretive value, that value lies in clarifying statutory ambiguity. See

  Milner, 131 S. Ct. at 1267 (“Legislative history, for those who take it into account, is meant to

  clear up ambiguity, not create it.”). The Senate Report serves no such purpose here. While the

  statute itself may not define “financial advisory services” in pellucid terms, the legislative history

  cited by ITT offers no significant support for ITT’s preferred restrictive definition.

         ITT offers another, related argument against interpreting the CFPA’s “financial advisory

  services” to include its interactions with its students. “Congress,” it reminds us, does not “hide

  elephants in mouseholes.” Whitman v. Am. Trucking Ass’ns, 531 U.S. 457, 468 (2001). Including

  an educational institution like ITT within the ambit of entities liable under the statute for

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  providing financial advisory services is such a significant step, ITT insists, that Congress could

  hardly have taken it without more explicitly saying so. In American Bar Association v. F.T.C.,

  430 F.3d 457 (D.C. Cir. 2005), which ITT cites in support of its argument, the D.C. Circuit

  rejected the FTC’s attempt to regulate a law firm as a “financial institution.” There, the FTC had

  supported its expansive reading by pointing to the statute’s broad definition of a financial

  institution as “any institution the business of which is engaging in financial activities,” and by

  noting the same lengthy list of permissible non-banking activities for “financial institutions” that

  we have already discussed above. 430 F.3d at 467. The court ruled that the statutory framework

  governing financial institutions, including Congress’s definition of the term, contained

  insufficient ambiguity to warrant deference to the agency’s attempt to cram a “rather large

  elephant in a rather obscure mousehole.” Id. at 469.

           While we do not question the wisdom of the D.C. Circuit’s decision in American Bar

  Association, we find it distinguishable. The Consumer Financial Protection Act is aptly named:

  Congress stated that its purpose is to ensure “that markets for consumer financial products and

  services are fair, transparent, and competitive.” 12 U.S.C. § 5511. As we have already discussed,

  the statute does not restrict its regulatory reach to “financial institutions.” See 12 U.S.C. §§ 5536,

  5481. In the absence of any indication that holding educational institutions—or law firms, for

  that matter—liable for unfairness to consumers is contrary to the statute’s goals, we see no

  reason to circumscribe what Congress has spoken broadly. See Pl.’s Ex. 3 (Consumer Fin. Prot.

  Bureau v. Gordon (C.D. Cal. June 26, 2013)).29 While it may be an unacceptably dramatic




  29
    The CFPA expressly restricts the authority of the Bureau over the “practice of law.” 12 U.S.C. § 5517(e).
  However, this limitation applies only to products or services “offered or provided as part of, or incidental to, the
  practice of law, occurring exclusively within the scope of the attorney-client relationship.” Id. at § 5517(e)(2)(A).
  Thus, the CFPA could bring suit against a law firm engaged in the provision of financial products or services not

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  conceptual leap to label a law firm as a “financial institution,” it is hardly a leap at all to say that

  a school offers “financial advisory services” to its students—particularly on the facts alleged

  here.

  B. “Service Provider”

           ITT also qualifies as a “service provider” under the CFPA. As we have previously noted,

  the statute extends its reach to any entity that “provides a material service to a covered person in

  connection with” the covered person’s offering of a “consumer financial product.” A “material

  service” may include participating in the “designing, operating, or maintaining” of the consumer

  financial product or service in question. See 12 U.S.C. § 5481(26)(A)(i).

           ITT does not dispute that the third-party originators of the SCUC “private loans” were

  “covered persons” based on the Bureau’s allegations. See 12 U.S.C. §§ 5481(5), 5481(6). As for

  ITT’s accessory role, the school cannot be held to account for its role in “designing” the loan

  programs in 2008 and 2009, since the CFPA did not take effect until July 2011. Def.’s Br. 17

  (citing Molosky v. Wash. Mut., Inc., 664 F.3d 109, 113 n.1 (6th Cir. 2011) (provisions of the

  Dodd-Frank Act are not retroactive)). See also Bowen v. Georgetown Univ. Hosp., 488 U.S. 204,

  208 (1988) (discussing principles of statutory retroactivity). The Bureau has also pleaded,

  however, that ITT was heavily involved in operating and maintaining the loan program. The

  Complaint alleges that ITT used Temporary Credit as a tool to pre-qualify students for the

  private loans, that ITT developed the loans’ underwriting criteria, that it paid the credit union

  membership fees in the lead credit union on behalf of the students who took out the loans, and



  incident to its legal representation of its clients. Notably, the statute contains no such exclusion concerning
  educational institutions. See 12 U.S.C. § 5517.



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  that it provided a stop-loss guarantee to the programs’ lenders—covering any losses from

  defaults exceeding 35% of participating students. Compl. ¶¶ 116–117, 121–122. These

  allegations are more than “unsupported generalities”—as ITT calls them—and they suffice to

  meet the Bureau’s burden at this stage of the litigation. Cf. Iqbal, 556 U.S. at 678.

         The only piece of evidence ITT offers in favor of a reading of “operating” and

  “maintaining” that excludes the alleged conduct is a quotation from the 2012 CFPB bulletin.

  According to ITT, “the Bureau . . . has stated that ‘service providers’ are entities to whom

  covered persons have ‘outsource[d]’ functions that would otherwise fall within the Bureau’s

  jurisdiction.” Def.’s Br. 18 n.11 (citing CFPB Bulletin 2012-03, at 1). An examination of the

  Bureau’s full statement in the 2012 Bulletin, however, is inconsistent with the impression ITT

  seeks to convey. The Bulletin states as follows:

         The CFPB recognizes that the use of service providers is often an appropriate
         business decision for supervised banks and nonbanks. Supervised banks and
         nonbanks may outsource certain functions to service providers due to resource
         constraints, use service providers to develop and market additional products or
         services, or rely on expertise from service providers that would not otherwise be
         available without significant investment.
  CFPB Bulletin 2012-03, at 1. Thus, whether or not we view “outsourced” functions as distinctive

  from those allegedly performed by ITT, ITT’s cited source does not actually assert that an entity

  is a service provider only if it performs such functions. We see no reason to read “operating” and

  “maintaining” as bearing anything other than their ordinary meaning; seen in this light, the

  Bureau has stated a claim that ITT falls into the covered category of “service provider.”

  III.   Adequacy of the Bureau’s Pleadings under the CFPA




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         We now turn, lastly, to the Bureau’s allegations themselves. ITT argues that each of

  Counts One, Two, and Three fails to state a claim. Because the guiding standard for each count is

  different, we consider them separately.

  A. Count One: Unfair Acts or Practices

         Count One of the Complaint alleges that, “[f]rom July 21, 2011 through December 2011,

  ITT subjected consumers to undue influence or coerced them into taking out ITT Private Loans

  through a variety of unfair acts and practices designed to interfere with the consumers’ ability to

  make informed, uncoerced choices.” Compl. ¶ 160. The Bureau alleges that this conduct

  constituted an “unfair . . . act or practice” under the CFPA. 12 U.S.C. § 5536(a)(1)(B).

         In order to state a claim for an unfair act or practice under the Act, a plaintiff must

  establish that: “[1] the act or practice causes or is likely to cause substantial injury to consumers

  [2] which is not reasonably avoidable by consumers; and [3] such substantial injury is not

  outweighed by countervailing benefits to consumers or competition.” 12 U.S.C. § 5531(c)(1).

  The parties dispute the sufficiency of the Complaint with respect to each of these three elements.

         1. Substantial Injury

         Under the standard for unfair practices that the statute has borrowed from the FTCA, a

  “substantial” injury in the context of consumer protection is most often a financial one. See

  F.T.C. v. Direct Mktg. Concepts, Inc., 569 F. Supp. 2d 285, 299 (D. Mass. 2008) (citing Letter

  from Federal Trade Comm’n to Senators Ford and Danforth (Dec. 17, 1980)); Am. Fin. Servs.

  Ass’n v. F.T.C., 767 F.2d 957, 972 (D.C. Cir. 1985). Although the harm involved need not be

  massive on an annual basis to count as substantial, cf. Orkin Exterminating Co., Inc v. FTC, 849




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  F.2d 1354, 1365 (11th Cir. 1988), a “trivial or speculative” harm will not suffice. See FTC v. IFC

  Credit Corp., 543 F. Supp. 2d 925, 945 (N.D. Ill. 2008).

           Here, the Bureau has alleged that approximately 8,600 ITT students suffered financial

  harm when they were directed by ITT into the “private loans” between July and December 2011.

  Compl. ¶¶ 120, 162. The private loans into which ITT channeled its students carried interest

  rates as high as 16.25% and origination fees as high as 10%, which “translates to thousands of

  dollars for each customer over the life of the loan, and millions of dollars across the group.” Pl.’s

  Resp. 20 (citing Compl. ¶ 124). According to the Bureau, the students who took out these loans

  were predominantly in fragile financial health, and, according to ITT’s own projections, some

  64% of them defaulted, exacerbating their debt and financial distress. Compl. ¶¶ 124, 154. These

  allegations adequately describe a substantial financial injury to the students.30

           Rather than engage directly with these accusations, ITT contends that the Court

  necessarily lacks a metric by which to judge whether the students were harmed by the loans.

  According to ITT, there is no “discernible standard” by which the Court could determine that a

  loan was “unaffordable”; ITT points out that while there is a lengthy regulation defining the

  scope of affordability for mortgages, no analogous authoritative guidance exists for these loans.

  Def.’s Br. 20–21 (citing 12 C.F.R. § 1026.43(c)). Further, ITT cites 12 U.S.C. § 5517(o), which

  prohibits the Bureau from establishing a “usury limit applicable to an extension of credit”—with

  the implication that if the Bureau cannot impose usury caps, then it cannot object to loans on the

  basis of their unaffordability. Id. at 21. ITT’s thrusts here are misdirected. The Bureau is not


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    ITT takes issue with the Bureau’s “conclusory assertions” regarding what students “wanted, understood, or knew”
  when they took out the ITT private loans. Def.’s Br. 20 (citing Adams v. City of Indianapolis, 742 F.3d 720, 728 (7th
  Cir. 2014)) (discussing the Twombly/Iqbal pleading standards requiring a plaintiff to “state a claim to relief that is
  plausible on its face”). This objection is misguided. Regardless of whether the Bureau’s allegations regarding the
  students’ state of mind are plausible, that question has no bearing on whether the students suffered substantial harm.

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  required to plead here that the private loans crossed any sort of discrete “affordability” threshold,

  nor does the ultimate success of the claim hinge on whether the rates charged in the loans are per

  se unreasonable or usurious. Rather, the Bureau must plead that ITT’s conduct harmed the

  students’ welfare, and the facts it has plausibly pled could support such an inference if proven.

         More to the point, ITT objects that the Complaint has not stated a claim that the

  misconduct caused the harm of which the Bureau complains. The essence of ITT’s argument is

  that the Bureau has not shown that ITT forced any students to take out the private loans—and

  that without coercion it is impossible to show that ITT’s actions were the proximate cause of any

  subsequent financial harm. Def.’s Br. 21–23. ITT relies on Cohen v. American Security

  Insurance Co., 735 F.3d 601 (7th Cir. 2013). In that decision, the Seventh Circuit addressed a

  homeowner’s claim against a mortgage lender that, pursuant to its contract with the homeowner,

  had procured hazard insurance on the homeowner’s behalf after the homeowner allowed

  previous coverage to lapse. 735 F.3d at 603–606. The homeowner brought a claim under

  Illinois’s analogue to the FTCA, alleging that the lender had engaged in unfair practices by

  “coercing” her into paying for high-cost insurance coverage. The court rejected the plaintiff’s

  theory, reasoning that the coverage requirement was common in such contracts, and “if it was

  not coercive to demand that [she] maintain insurance coverage on the property (and it certainly

  was not), it cannot have been coercive for [the lender] to threaten to invoke the contractual

  remedies available for breach of that duty.” Id. at 610. In other words, the plaintiff had not

  demonstrated that either the circumstances of the signing of the contract, or its enforcement by

  the lender in signing up the plaintiff for expensive coverage, had unduly impeded the plaintiff’s

  freedom of choice.




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         Cohen affirms that “insisting that a contract partner fulfill his contractual duties . . . is not

  coercion,” 735 F.3d at 609, but it does not speak meaningfully to the separate question of when

  the circumstances of a contract’s formation may be coercive. Rather, the Seventh Circuit there

  found that the plaintiff’s allegations of unfairness in the contracts’ origins lacked plausibility: the

  lender disclosed the insurance requirement “clearly and fully” throughout the process, and the

  plaintiff’s allegation that the lender was providing a “kickback” to its insurance affiliate was

  conclusory. Id. at 609–610. In short, there was “a total absence of the type of oppressiveness and

  lack of meaningful choice necessary to establish unfairness.” Id. at 610 (quoting Robinson v. v.

  Toyota Motor Credit Co., 775 N.E.2d 951, 962 (Ill. 2002)).

         While relevant, formal contract principles are thus “not conclusive” in an unfair practices

  claim, for this “is an action that charges ‘unfairness,’ and legality and unfairness are not

  necessarily congruent.” FTC v. IFC Credit Corp., 543 F. Supp. 2d 925, 948, 953 (N.D. Ill. 2008)

  (citing F.T.C. v. Sperry & Hutchinson Co., 405 U.S. 233 (1972)). Here, the Bureau alleges that

  ITT’s tactics were effectively “coercive” for two principal reasons. First, the “repackaging”

  process was “rushed and controlled” by the ITT financial aid staff, and staff members employed

  intrusive and overbearing tactics in ensuring that students rolled over their Temporary Credit into

  private loans, Compl. ¶¶ 85, 87; some students, according to the Bureau, “did not even realize

  they took out the ITT Private Loans because of the rushed and automated manner in which ITT

  Financial Aid staff processed ITT students’ paperwork.” Id. at ¶ 142. Second, ITT used the

  withholding of course materials, transcripts, and transfer credits as leverage to convince

  impecunious students who had already invested greatly in an ITT education to take out the loans

  to enable them to keep their heads above water. Id. at ¶¶ 160(a)–(c). See also ¶¶ 8, 9, 87, 97,

  139–140. The Complaint states that “[s]ome students objected to the ITT Private Loans, but they


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  were told that if they refused to use them, they either had to pay any outstanding Temporary

  Credit and the next year’s tuition gap—which most could not do—or leave the school in the

  middle of their program and forfeit the investment they had made so far.” Id. at ¶ 140. Courts

  have found that both types of tactic can satisfy the causation element of an unfair practices claim.

  See F.T.C. v. Zamani, 2011 WL 2222065, at *9 (C.D. Cal. June 6, 2011) (purveyors of mortgage

  refinance service committed unfair practices by signing up customers by misrepresenting the

  “success rate” of the modification program, the recoverability of an up-front fee, and the rates

  and terms available). In particular, we agree with the Bureau that the threat of withholding vital

  educational assets like transcripts and class credit is not only likely but appears calculated to

  produce considerable leverage over ITT students, and that under certain circumstances the

  deployment of such leverage could fairly be termed “coercive.” Am. Fin. Servs. Ass’n, 767 F.2d

  at 973 (“The injury resulting from ‘threats’ or ‘suggestions’ of seizure [of household furnishings

  pursuant to a credit agreement] is not limited to psychological harm. Consumers threatened with

  the loss of their most basic possessions become desperate and peculiarly vulnerable to any

  suggested ‘ways out.’”).

          The Bureau has alleged that ITT rushed students through the loan “repackaging” process,

  left them ill-informed about the nature of the contracts they were signing, and exploited the

  students’ vulnerable financial positions to steer them into loans that provided a temporary

  solution to the students’ problems (and benefited ITT’s balance sheets) but deepened their long-

  term distress.31 Without abandoning the common law’s presumption that parties should be held



  31
    ITT objects that the bulk of the Bureau’s allegations regarding misinformation to “mystery shoppers” fall outside
  the statute’s effective date, and that the Bureau has not specifically alleged that misconduct occurred during the
  “repackaging” stage for continuing students. Def.’s Br. 21–22. To the contrary, although many of the “mystery
  shopper” allegations are not directly relevant here, the Complaint also contains a number of allegations that
  specifically concern the process in question. See Compl. ¶¶ 85–87, 97–98, 138–142. Even if we view the allegations

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  to the terms of contracts to which they freely agreed, our inquiry into “unfair” practices under the

  statute requires us to look past form and into substance. See IFC Credit, 543 F. Supp. 2d at 948

  (“[T]his is not an action at common law for simple breach of contract or for fraud. Rather it is an

  action under a federal statute that makes unlawful conduct causing substantial, unavoidable

  injury . . . .”). These allegations, if substantiated, would satisfy the Bureau’s burden of proof on

  the question of substantial injury and causation.

          2. “Reasonably Avoidable”

          Our inquiry into whether consumers’ injury was “reasonably avoidable” focuses on

  “whether the consumers had a free and informed choice,” and it thus overlaps significantly with

  the previous discussion of coercion. See Davis v. HSBC Bank Nev., N.A., 691 F.3d 1152, 1168

  (9th Cir. 2012); Am. Fin. Servs., 767 F.2d at 976. “An injury is reasonably avoidable if

  consumers ‘have reason to anticipate the impending harm and the means to avoid it,’ or if

  consumers are aware of, and are reasonably capable of pursuing, potential avenues toward

  mitigating the injury after the fact.” Id. (quoting Orkin, 849 F.2d at 1365–1366 (11th Cir. 1988)).

          Here, ITT contends that any injury sustained by the students as a result of the private loan

  debt was reasonably avoidable because the students always remained formally free to fill their

  “tuition gaps” by any means they chose; indeed, as the Complaint concedes, some students opted

  not to take out the private loans and managed to satisfy their debts by other means. See Compl.

  ¶¶ 25–26, 143. Moreover, ITT notes that the contracts signed by students did disclose the nature




  concerning ITT’s conduct towards prospective students as mere table-setting and immaterial to the CFPA claims,
  the Complaint contains more than enough relevant allegations to state a claim.

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  of both the Temporary Credit and the private loans, and it further insists that the school disclosed

  the effect of outstanding debt on the transferability of credit. Def.’s Br. 24.

           In response, the Bureau urges that its pleadings demonstrate that, regardless of whether

  the injury was formally avoidable, students lacked a free choice as a practical matter. First, the

  Bureau has alleged that the choice students made was not a meaningfully “informed” one, since

  ITT staff engaged in so much “hand-holding” that the students’ role was often reduced to signing

  forms already completed for them.32 Compl. ¶¶ 85–87, 91, 141–142. Since the public policy in

  favor of holding contracting parties to their agreements depends in part on their having a “full

  opportunity to read” the contracts in question, these allegations at least raise a question regarding

  whether the students were adequately informed. Cf. Cromeens, Holloman, Sibert, Inc. v. AB

  Volvo, 349 F. 3d 376, 394 (7th Cir. 2003). See also Paterson v. Wells Fargo Bank, N.A., 2012

  WL 4483525, at *5 (N.D. Ill. Sept. 27, 2012) (allowing claim under the Illinois analogue to the

  FTCA to proceed even where written terms of the contract conflicted with alleged

  misrepresentations). Second, the Complaint states that the “choice” enjoyed by students, even

  assuming they fully understood its nature, was an illusory one. As the FTC has explained in

  fleshing out its parallel “unfairness” standard, an injury may not be reasonably avoidable where a

  defendant “exercise[s] undue influence over highly susceptible classes of purchasers.” See IFC

  Credit Corp., 543 F. Supp. 2d at 946 (quoting H.R. Rep. No. 156, Pt. 1, 98th Cong., 1st Sess. 37

  (1983)). The Bureau’s allegations that ITT leveraged the threat of withholding transcripts and



  32
    The Bureau additionally alleges that the students were victims of a larger “bait-and-switch” pattern, since they
  were rushed through the earlier Temporary Credit applications and ill-informed of the nature of that debt—which in
  turn rendered them more vulnerable when it came time to “repackage.” Compl. ¶¶ 103–108. We agree with ITT,
  however, that we must focus on ITT’s conduct that fell within the July–December 2011 period in which the CFPA
  was enforceable; since the allegations center on the private loans and no student’s initial and “repackaging” stages
  could both have taken place in that six-month window, we do not directly consider the allegations of antecedent
  misconduct. See Def.’s Reply 12–13.

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  denying transferability of credits, or expelling students outright if they failed to make up their

  “tuition gap,” describe a scenario in which students were boxed into a corner. See Compl. ¶¶ 87,

  160(a)–(b), 163. See also Wendorf v. Landers, 755 F. Supp. 2d 972, 979 (N.D. Ill. 2010) (noting

  that a plaintiff states a claim under Illinois’s analogue to the FTCA where “the defendant’s

  conduct gave plaintiff no reasonable alternative” to suffering the injury in question).33

           We agree with the Bureau. Regardless of any difficulty it may face in proving its

  allegations that ITT guided its students into a precarious position and exploited that vulnerability

  to channel them into unwise and damaging debt obligations, its Complaint satisfactorily states its

  claim at this stage. We “give the plaintiff the benefit of imagination, so long as the hypothesis

  are consistent with the complaint.” Bissessur v. Ind. Univ. Bd. of Trustees, 581 F.3d 599, 603

  (7th Cir. 2009) (quoting Sanjuan, 40 F.3d at 251).

           3. Whether Harm Outweighed Benefit to Consumers

           The harm-benefit balance associated with ITT’s conduct is a particularly fact-dependent

  issue. See Am. Fin. Servs., 767 F.2d at 986–988. Perhaps realizing as much, neither party devotes

  much discussion to it. ITT argues, in effect, that the lifelong benefits flowing from a post-

  secondary degree must outweigh the economic harm allegedly inflicted by the loans: “Many

  graduates from various types of post-secondary educational institutions advance in their careers

  following the ‘entry-level’ positions obtained upon graduation . . . . [A]bsent private loans,

  students with Temporary Credit balances or otherwise in need of funds to cover an additional


  33
     ITT points to Todd v. Collecto, Inc., 731 F.3d 734 (7th Cir. 2013), an FDCPA decision in which the Seventh
  Circuit observed that it was not “unfair,” in the context of the FDCPA, “for a college to withhold a student’s
  transcript until she has settled her debt to the school.” 731 F.3d at 739. As the court in Todd itself noted, however,
  the three-part standard for unfairness under the FTCA (and now the CFPA) does not fit perfectly with the
  “unfairness” described in Section 1692f of the FDCPA. Id. Regardless, the question of whether it is unfair to collect
  a pre-existing debt by withholding transcripts is a different question than whether it is unfair to goad students into
  incurring debt by use of such a threat.

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  year of tuition would almost certainly have been worse off.” Def.’s Br. 25. This argument misses

  the central thrust of the Bureau’s accusations: that ITT’s unfair practices lay in creating a stark

  choice between the private loans and dropping out of college. See Pl.’s Resp. 25. The finder of

  fact will thus need to frame the question more precisely, inquiring whether the harm of the

  situation created by ITT’s conduct outweighed any benefit such conduct conveyed upon

  students.

         The Bureau has alleged in its Complaint that “[t]he injury to the ITT students who took

  out ITT Private Loans was not outweighed by countervailing benefits to consumers or to

  competition.” Compl. ¶ 164. Standing on its own, such an allegation might be inadequate and

  conclusory. Read in conjunction with the Complaint’s other, more detailed, allegations

  concerning the nature of the harm suffered, however, we conclude that it is sufficient to state a

  claim that the third element of the “unfairness” test has been satisfied. See Compl. ¶¶ 46–49, 85–

  87, 97–98, 138–142.

  B. Counts Two and Three: Abusive Practices

         The Bureau brings two counts alleging that “abusive” acts or practices in violation of 12

  U.S.C. § 5531: Count Two alleges that ITT took unreasonable advantage of the inability of

  consumers to protect their own interests in selecting or using a consumer financial product,

  Compl. ¶¶ 166–173; and Count Three alleges that ITT took unreasonable advantage of the

  reasonable reliance by consumers on ITT to act in the consumers’ interests. Compl. ¶¶ 174–182.

         1. “Unreasonable Advantage”

         As a threshold matter, ITT objects that the Bureau has not stated a claim that it took

  “unreasonable advantage” of its students—a necessary element of both of its claims regarding


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  “abusive” acts or practices. Def.’s Br. 25–27 (citing 12 U.S.C. § 5531(d)(2)). In ITT’s words:

  “There is no allegation that ITT received any fees or interest from any private loan. To the

  contrary, the complaint alleges that ITT ‘guaranteed’ the very same private loans for which it

  supposedly predicted a 60% default rate . . . which undermines the Bureau’s unlikely claim of

  ‘advantage.’” Def.’s Br. 26 (citing Bissessur, 581 F.3d at 603–604).

           But the Bureau has, in fact, alleged that ITT derived an advantage from its conduct. In the

  absence of evidence indicating that we should do otherwise, we construe the language of a

  statute according to its “plain language, giving the words used their ordinary meaning.” Lara

  Ruiz-v. I.N.S., 241 F.3d 934, 940 (7th Cir. 2001) (citing Pioneer Inv. Servs. Co. v. Brunswick

  Assocs., Ltd. P’ship, 507 U.S. 380, 388 (1993)). The ordinary meaning of “to take advantage of”

  is “to make use of for one’s own benefit,” to “use to advantage,” or to “profit by.” Webster’s

  Third New Int’l Dictionary 2331 (3d ed. 1993). Here, the Bureau has alleged that signing up

  students for the private loans enabled ITT to clear the “doubtful assets” represented by the

  Temporary Credit off its balance sheets, converting it into “immediate income and cash-on-

  hand.” Compl. ¶ 114.34 In fact, the Bureau’s allegations quote senior ITT officials stating that

  ITT designed the loan programs precisely in order to derive such an economic benefit from them.

  Compl. ¶¶ 134–137. Given the Bureau’s allegations about the unfair nature of the students’




  34
    ITT argues that since the Bureau has not alleged that the school caused the students’ subsequent high default rate
  on the private loans, the Bureau cannot have stated a claim that the loans were “abusive.” While proximate cause is
  indeed a necessarily element of a theory of liability, as ITT points out, see Def.’s Br. 27 (citing Lexmark Int’l, Inc. v.
  Static Control Components, Inc., 134 S. Ct. 1377, 1390 (2014)), the Bureau’s claim is not that ITT derived
  advantage from the fact that the students later defaulted, but from the cash flow generated by their taking out the
  loans in the first place. Whether or not ITT caused the students later to default—or derived some sort of benefit from
  that default—is irrelevant.

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  predicament, the Complaint sufficiently pleads that ITT derived “unreasonable advantage” from

  its conduct, according to the term’s ordinary, broad meaning.35

           2. Count Two: Students’ Inability to Protect Their Interests

           In defining the scope of “abusive” acts or practices, the CFPA lays out several routes to

  liability. One means by which a defendant’s conduct may be abusive is if the defendant “takes

  unreasonable advantage of . . . the inability of the consumer to protect the interests of the

  consumer in selecting or using a consumer financial product or service.” 12 U.S.C. §

  5531(d)(2)(B).

           ITT assails the Complaint for “posit[ing] that students were unable to protect their own

  interests in the repackaging process ‘because’ they lacked the resources or time to repay any

  outstanding Temporary Credit or obtain private loans elsewhere.” Def.’s Br. 28 (citing Compl. ¶

  171). ITT continues, objecting that “[t]he complaint does not show that ITT limited the amount

  of time students had to arrange financing from any source, prevented students from paying with

  family funds, or prevented students from taking a period to work and then resuming their

  education when they had paid their Temporary Credit balance.” Id. Contrary to ITT’s assertions,

  the Bureau has in fact alleged that ITT contributed to the students’ vulnerability by knowingly

  waiving its minimal credit criteria to allow students to take out Temporary Credit, and by


  35
    As to the “unreasonable” nature of the advantage ITT allegedly derived from the transactions, ITT objects that its
  course of conduct is simply “how financial aid in higher education works.” In support, it cites Jackson v. Bank of
  America Corp., 711 F.3d 788 (7th Cir. 2013), in which the Seventh Circuit dismissed a procedural unconscionability
  claim regarding a mortgage contract because “[t]here is nothing in the record to indicate that [plaintiffs] did not
  understand the terms of their loan . . . [or] that the [plaintiffs] did not understand the potential consequences of
  defaulting on their loan.” 711 F.3d at 793. Here, the Bureau has, in fact, alleged such lack of understanding on the
  part of the students. See Compl. ¶ 142. More to the point, ITT’s “slippery slope” argument is inapposite. If, once the
  factual record is developed, it turns out that ITT’s practices are fully in line with the practices of colleges and
  universities nationwide, the Bureau would face a steep (but not necessarily impossible) hill to climb in establishing
  that such common practices “take unreasonable advantage” of students. But the Bureau has alleged conduct that—
  we hope—is not simply par for the course; at any rate, the “everyone else is doing it” defense does not support a
  motion to dismiss absent an argument that the allegations are legally invalid or factually implausible.

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  engaging in the same aggressive, hand-holding tactics described elsewhere in connection with

  the later “repackaging” process. Compl. ¶¶ 100, 63–84.

           Regardless of who caused the students’ vulnerability, the Bureau’s burden here is to show

  that they were, in fact, unable to protect their own interests. As we have discussed before in

  connection with “coercion” and the lack of a reasonable alternative, ITT’s argument relies too

  heavily on a formalistic reading of the statutory requirement. It is likely true, as ITT asserts, that

  students never lost the theoretical power to defend their interests, in the sense that they could

  have walked away from ITT entirely and refused to take out new debt. See Def.’s Br. 28. A

  reasonable reading of the statutory language, however, is that it refers to oppressive

  circumstances—when a consumer is unable to protect herself not in absolute terms, but relative

  to the excessively stronger position of the defendant. See, e.g., Ting v. AT&T, 319 F.3d 1126,

  1148–1149 (9th Cir. 2003) (noting that, under doctrine of procedural unconscionability, a literal,

  physical lack of consumer choice is not necessary to show oppressiveness). See also Carey

  Alexander, Abusive: Dodd-Frank Section 1031 and the Continuing Struggle to Protect

  Consumers, 85 St. John’s L. Rev. 1105, 1114–1119 (2011) (discussing the legislative history of

  the “abusive” standard as consistent with the understanding that it is a statutory codification of

  the common-law doctrine of unconscionability). As we have already discussed, the Complaint

  sufficiently alleges that such oppressive circumstances existed here.36 We therefore conclude that

  Count Two of the Complaint states a claim for relief.


  36
    In its brief, ITT again raises the argument that using transfer credits as leverage cannot be a violation of the statute
  because precedent dictates that “educational institutions may—and do—withhold credits for transferring students
  with outstanding tuition balances.” Def.’s Br. 28 (citing In re Oliver, 499 B.R. 617, 620–621 (Bankr. S.D. Ind.
  2013)). In re Oliver, the new case ITT cites (in addition to Todd v. Collecto, which we have already discussed), is a
  bankruptcy decision concerning whether an unpaid balance on a student account meets the definition of an education
  loan under the statutory discharge exception for student loan debt. 499 B.R. at 620–621. Like Todd, it has nothing to
  do with the separate question of whether it may be “abusive” for an educational institution to use its authority to
  withhold transcripts or transfer credits as leverage in persuading students to take out new debt.

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         3. Count Three: Students’ Reasonable Reliance on ITT

         Count Three of the Complaint asserts an alternate ground of ITT’s liability for “abusive”

  conduct: that ITT “[took] unreasonable advantage of . . . the reasonable reliance by the consumer

  on a covered person to act in the interests of the consumer.” 12 U.S.C. § 5531(d)(2)(C).

         “Reasonable reliance” is a familiar concept in tort law, and it is a question of fact

  generally not appropriate for resolution on a motion to dismiss, or even summary judgment. See

  Pippenger v. McQuik’s Oilube, Inc., 854 F. Supp. 1411, 1427 (S.D. Ind. 1994) (“[G]enerally

  speaking, the questions of reasonable diligence and reasonable reliance are questions of fact for

  the jury to decide.”). To withstand a motion to dismiss, a plaintiff’s allegations that a group of

  consumers relied on a defendant’s representations need not contain specific allegations as to any

  particular consumer’s individual reliance. See F.T.C. v. Security Rare Coin & Bullion Corp., 931

  F.2d 1312, 1316 (8th Cir. 1991) (“It would be inconsistent with the statutory purpose [of the

  FTC] for the court to require proof of subjective reliance by each individual consumer.”); F.T.C.

  v. Kuykendall, 371 F.3d 745, 765–766 (10th Cir. 2004).

         The Bureau has alleged that, throughout their time at the school, ITT staff represented to

  students that they would “work in the interests of [their] students to better their lives.” Compl. ¶¶

  29–32. This included orally assuring prospective students of large salaries, “usually . . . six

  figures,” upon graduation. Id. at ¶¶ 40–42. According to the Complaint, “[s]ome ITT students

  accepted the ITT Private Loans because they believed ITT Financial Aid staff was acting in their

  interests in signing them up for such loans, and they believed, based on ITT’s representations,

  that ITT in general was acting in their interest to better their lives.” Compl. ¶ 141. Thus, the

  Bureau has alleged both that ITT students relied upon staff members’ representations as to the

  private loans, and that students act in reasonable reliance on the school’s misrepresentations as to

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  the nature and role of the financial aid staff. See Compl. ¶¶ 95–96 (“Despite words and actions to

  the contrary, ITT staff was not trained, nor was the staff instructed, to safeguard students’

  financial interests . . . . Most of ITT’s metrics for evaluating the performance of Financial Aid

  staff were related to how many students had completed financial aid packages . . . .”). See also

  Nat’l Ass’n of Mortg. Brokers v. Bd. of Governors of the Fed. Reserve Sys., 773 F. Supp. 2d 151,

  172 (D.D.C. 2011) (“Even though mortgage brokers operate on behalf of neither the consumer

  nor the creditor, reasonable consumers may erroneous believe that loan originators are working

  on their behalf.”) (citations omitted).37

           ITT argues broadly that the claim fails both because its allegations are inconsistent with

  the Bureau’s theory that students were “coerced” into taking out the private loans, and because

  the Bureau’s allegations are nothing more than “bare assertions.” ITT’s first argument is

  groundless: a complaint may advance inconsistent legal theories based on the same set of facts.

  See Tamayo v. Blagojevich, 526 F.3d 1074, 1086 (7th Cir. 2008) (“Although our pleading rules

  do not tolerate factual inconsistencies in a complaint, they do permit inconsistencies in legal

  theories.”) (citing Cleveland v. Policy Mgmt. Sys. Corp., 526 U.S. 795, 805 (1999)). The Bureau

  has alleged no facts overtly inconsistent with those upon which it bases its claim in Count Three.

           ITT’s argument that the Bureau’s allegations fail the Iqbal/Twombly “plausibility”

  standard spring from a similarly erroneous premise. ITT insists that paragraphs 65 and 92 of the

  complaint, alleging that students were given insufficient information about the loan process and


  37
     As we have stated above, we conclude that the absence of overt misrepresentations in the forms the students
  signed, to the extent that their formal correctness conflicts with the Bureau’s allegations of oral misrepresentations,
  is not fatal to the Bureau’s claim. While a common-law fraud action might be frustrated under most conditions by
  the existence of a written contract without any factual misrepresentations, the standard may be different under a
  statutory cause of action—particularly one that does not authorize private enforcement. See FTC v. Minuteman
  Press, 53 F. Supp. 2d 248, 262–263 (E.D.N.Y. 1998) (“Thus, . . . a conflict between a specific disclaimer and a
  contrary oral representation—typically fatal to a reasonable reliance argument in a purely private suit—is . . .
  actionable by the FTC . . . .”).

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  that ITT employees “did all the work” for them, offer only “bare conclusions.” Def.’s Br. 31

  (citing Compl. ¶¶ 65, 92). As for the allegations of misconduct more specifically relating to the

  “repackaging” process, Compl. ¶¶ 85–87, 138–142, ITT asserts that they are nothing more than

  “‘threadbare recitals of the elements of a cause of action’ devoid of factual content.” Id. (quoting

  Iqbal, 556 U.S. at 678).

         “A plaintiff must provide only enough detail to give the defendant fair notice of what the

  claim is and the grounds upon which it rests, and, through his allegations, show that it is

  plausible, rather than merely speculative, that he is entitled to relief.” Reger Dev., LLC v. Nat’l

  City Bank, 592 F.3d 759, 764 (7th Cir. 2010) (quoting Tamayo, 526 F.3d at 1083). In other

  words, a plaintiff must plead facts that plausibly give rise to a right to relief—but he need not, at

  this stage, prove those facts. The portions of the Complaint to which ITT refers are not “recitals”

  of the elements of a legal claim at all; rather, they are allegations of fact. See Compl. ¶¶ 85–87,

  138–142. Reading these allegations in the context of the extensive and detailed allegations of the

  Complaint as a whole, we find that they contain enough facts to “state a claim to relief that is

  plausible on its face.” See Killingsworth, 507 F.3d at 618–619. The Bureau need not do more at

  this stage, and we thus reject ITT’s repeated suggestions otherwise.

         We thus conclude that Count Three, like Count Two, satisfies the pleading requirements

  imposed by the Federal Rules of Civil Procedure and withstands ITT’s motion to dismiss.

  V.     Count Four: Violation of the Truth in Lending Act

         “Regulation Z,” promulgated by the Federal Reserve Board in implementation of the

  Truth in Lending Act, 15 U.S.C. § 1601 et seq., requires the disclosure of certain “finance

  charges,” as defined by the Act, in writing before the consummation of the transaction giving


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  rise to the charges. 12 C.F.R. §§ 1026.17, 18(d).38 See also 15 U.S.C. § 1605(a) (defining

  “finance charge”). The Bureau alleges that the discount ITT offered students who paid off their

  Temporary Credit balances in a lump sum constituted a finance charge, and that ITT’s failure to

  disclose the charge violated TILA and Regulation Z. Compl. ¶¶ 184–191. We do not reach the

  merits of the claim, because we agree with ITT that Count Four is barred by the applicable

  statute of limitations.

          ITT contends that this claim is governed by the section of TILA governing “civil

  liability,” which provides that “any action under this section may be brought in any United States

  district court, or in any other court of competent jurisdiction, within one year from the date of the

  occurrence of the violation.” 15 U.S.C. § 1640(e); Basham v. Fin. Am. Corp., 583 F.2d 918, 927

  (7th Cir. 1978). Because the Complaint was filed on February 26, 2014—well more than one

  year after the conduct described in the allegations occurred—ITT asserts that this action lies

  outside the limitations period. Def.’s Br. 34; Def.’s Reply 19.

          The Bureau counters that its claim in Count Four is governed not by TILA’s civil liability

  provision, but by 15 U.S.C. § 1607, the section of the statute which grants the Bureau—together

  with several other federal agencies—power to “enforce[e] compliance with any requirement

  imposed” by the Act. 15 U.S.C. § 1607(a)(6). Enforcement actions brought under 15 U.S.C. §

  1607 are not subject to the one-year statute of limitations imposed by Section 1640. See Fed.

  Reserve Bd. Consumer Compliance Handbook, Regulation Z, at 57. See also Household Credit

  Servs., Inc. v. Pfennig, 541 U.S. 232, 238 (2004) (noting that the Federal Reserve Board and its




  38
    The CFPA subsequently transferred rulemaking authority pursuant to this regulation from the Federal Reserve to
  the Bureau. See Pl.’s Resp. 33 n.23.

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  staff have been designated by Congress as the primary source for interpretation and application

  of TILA).

          We disagree with the Bureau’s interpretation of the distinction between the two statutory

  provisions. First, we see no persuasive evidence that 15 U.S.C. § 1640 governs only private civil

  actions. The provision itself does not exclude actions in which a government agency is the

  plaintiff, and in fact it explicitly recognizes the possibility of intervention by federal agencies in

  civil suits initiated by private parties. 15 U.S.C. § 1640(e)(1).39 Second, agency interpretations

  support the conclusion that the agency enforcement powers contemplated by Section 1607 are

  administrative in nature, and are separate from any authorization to file civil suits. In interpreting

  its enforcement authority under TILA, the Comptroller of the Currency stated that “[t]he

  Comptroller’s administrative authority to enforce compliance with the Truth in Lending Act and

  Regulation Z . . . [is] based on Section 108 of the Act [15 U.S.C. § 1607] and 12 U.S.C. §

  1818(b) [the Federal Institutions Supervisory Act]. The authority of these sections is separate

  from and independent of the civil liability provisions of . . . the Truth in Lending Act.” OCC

  Interpretive Letter, Fed. Banking L. Rep. 85,040 (Oct. 6, 1977). Similarly, the Federal Reserve’s

  interpretive manual for Regulation Z states that “regulatory administrative enforcement actions .

  . . are not subject to the one-year statute of limitations.” Fed. Reserve Board Consumer

  Compliance Handbook, Regulation Z at 57 (Nov. 2013) (emphasis added).

          In a recent decision, the Supreme Court reaffirmed the principle that “the cases in which

  a statute of limitation may be suspended by causes not mentioned in the statute itself . . . are very



  39
    As the Bureau notes, the Third Circuit in Vallies v. Sky Bank, 591 F.3d 152 (3d Cir. 2009), did refer to Section
  1640 as creating a “private” cause of action. 591 F.3d at 156. That discussion was outside the context of the
  distinction we examine here, however; we read the court’s description as a slightly overbroad paraphrase rather than
  a considered restriction.

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  limited in character, and are to be admitted with great caution; otherwise the court would make

  the law instead of administering it.” Gabelli v. SEC, 133 S. Ct. 1216, 1224 (2013) (quoting Amy

  v. City of Watertown, 130 U.S. 320, 324 (1889)). Here, Congress demonstrated its “concern that

  a creditor not face limitless liability in terms of time” by setting a one-year statute of limitations

  for the filing of civil suits under TILA. Consol. Bank, N.A., Hialeah, Fla. v. U.S. Dep’t of

  Treasury, Office of Comptroller of Currency, 118 F.3d 1461, 1467 (11th Cir. 1997). When the

  government chooses to enforce the Act by filing a civil suit rather than resorting to the

  administrative actions under its power, we see no reason why the same congressional concerns

  should not apply—indeed, they may apply with still greater force. See Gabelli, 133 S. Ct. at 1223

  (noting that government “civil penalty” actions under the SEC, among other things, “label

  defendants [as] wrongdoers”). This seems to be a case of first impression: ITT can point to no

  cases in which a court has applied the civil statute of limitations to a suit brought by the Bureau,

  and the Bureau has pointed to no civil actions brought by the CFPB—or any other agency—

  pursuant to 15 U.S.C. § 1607. Under such circumstances, guided by the agencies’ own

  interpretive language and the jurisprudential rule-of-thumb recently reaffirmed by the Supreme

  Court, we decline to read an exception for agency plaintiffs into the one-year statute of

  limitations imposed by TILA’s civil liability provision. We therefore dismiss Count Four as

  time-barred.

  V.     Failure to Join Necessary Parties

         Hidden within ITT’s brief is an extraordinarily concise alternative argument for

  dismissal. “To the extent the Bureau seeks to recover from ITT the payments made by students

  to third-party lenders pursuant to their lending contracts, the complaint should be dismissed

  under Federal Rule of Civil Procedure 12(b)(7) for failure to join those third-party lenders as

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  necessary parties.” Def.’s Br. 14 (citing United States ex rel. Hall v. Tribal Dev. Corp., 100 F.3d

  476, 479–481 (7th Cir. 1996)). Federal Rule of Civil Procedure 19 prescribes a multi-part inquiry

  to guide courts and parties in ensuring “the joinder of all materially interested parties to a single

  lawsuit so as to protect interested parties and avoid waste of judicial resources.” Davis Cos. v.

  Emerald Casino, Inc., 268 F.3d 477, 481–482 (7th Cir. 2001) (quoting Moore v. Ashland Oil,

  Inc., 901 F.2d 1445, 1447 (7th Cir. 1990)). ITT has not engaged in any analysis under this

  standard, nor has it provided any argument at all in support of its Rule 12(b)(7) motion other than

  the single sentence quoted above. We deem this underdeveloped argument to be waived. See

  DeBoard v. Comfort Inn, 2013 WL 5592418, at *3 (S.D. Ind. Oct. 9, 2013) (citing Puffer v.

  Allstate Ins. Co., 675 F.3d 709, 718 (7th Cir. 2012)). See also United States v. Berkowitz, 927

  F.2d 1376, 1384 (7th Cir. 1991) (“Perfunctory and undeveloped arguments, and arguments that

  are unsupported by pertinent authority, are waived.”).

                                               Conclusion

         For the foregoing reasons, ITT’s motion to dismiss is DENIED as to Counts One, Two,

  and Three of the Complaint, and GRANTED as to Count Four of the Complaint.

         IT IS SO ORDERED.

              03/06/2015




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